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                              ACGME
               Common Program Requirements (Residency)




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   Where applicable, text in italics describes the underlying philosophy of the requirements
   in that section. These philosophic statements are not program requirements and are
   therefore not citable.

   Note: Review Committees may further specify only where indicated by “The Review
   Committee may/must further specify.”

   Introduction

   Int.A.         Graduate medical education is the crucial step of professional
                  development between medical school and autonomous clinical practice. It
                  is in this vital phase of the continuum of medical education that residents
                  learn to provide optimal patient care under the supervision of faculty
                  members who not only instruct, but serve as role models of excellence,
                  compassion, professionalism, and scholarship.

                  Graduate medical education transforms medical students into physician
                  scholars who care for the patient, family, and a diverse community; create
                  and integrate new knowledge into practice; and educate future generations
                  of physicians to serve the public. Practice patterns established during
                  graduate medical education persist many years later.

                  Graduate medical education has as a core tenet the graded authority and
                  responsibility for patient care. The care of patients is undertaken with
                  appropriate faculty supervision and conditional independence, allowing
                  residents to attain the knowledge, skills, attitudes, and empathy required
                  for autonomous practice. Graduate medical education develops physicians
                  who focus on excellence in delivery of safe, equitable, affordable, quality
                  care; and the health of the populations they serve. Graduate medical
                  education values the strength that a diverse group of physicians brings to
                  medical care.

                  Graduate medical education occurs in clinical settings that establish the
                  foundation for practice-based and lifelong learning. The professional
                  development of the physician, begun in medical school, continues through
                  faculty modeling of the effacement of self-interest in a humanistic
                  environment that emphasizes joy in curiosity, problem-solving, academic
                  rigor, and discovery. This transformation is often physically, emotionally,
                  and intellectually demanding and occurs in a variety of clinical learning
                  environments committed to graduate medical education and the well-being
                  of patients, residents, fellows, faculty members, students, and all members
                  of the health care team.

   Int.B.         Definition of Specialty

                  [The Review Committee must further specify]

   Int.C.         Length of Educational Program



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                    [The Review Committee must further specify]

   I.        Oversight

   I.A.             Sponsoring Institution

                    The Sponsoring Institution is the organization or entity that assumes the
                    ultimate financial and academic responsibility for a program of graduate
                    medical education, consistent with the ACGME Institutional Requirements.

                    When the Sponsoring Institution is not a rotation site for the program, the
                    most commonly utilized site of clinical activity for the program is the
                    primary clinical site.

        Background and Intent: Participating sites will reflect the health care needs of the
        community and the educational needs of the residents. A wide variety of organizations
        may provide a robust educational experience and, thus, Sponsoring Institutions and
        participating sites may encompass inpatient and outpatient settings including, but not
        limited to a university, a medical school, a teaching hospital, a nursing home, a school
        of public health, a health department, a public health agency, an organized health care
        delivery system, a medical examiner’s office, an educational consortium, a teaching
        health center, a physician group practice, federally qualified health center, or an
        educational foundation.

   I.A.1.                  The program must be sponsored by one ACGME-accredited
                           Sponsoring Institution. (Core)*

   I.B.             Participating Sites

                    A participating site is an organization providing educational experiences or
                    educational assignments/rotations for residents.

   I.B.1.                  The program, with approval of its Sponsoring Institution, must
                           designate a primary clinical site. (Core)

                           [The Review Committee may specify which other
                           specialties/programs must be present at the primary clinical site]

   I.B.2.                  There must be a program letter of agreement (PLA) between the
                           program and each participating site that governs the relationship
                           between the program and the participating site providing a required
                           assignment. (Core)

   I.B.2.a)                       The PLA must:

   I.B.2.a).(1)                           be renewed at least every 10 years; and, (Core)

   I.B.2.a).(2)                           be approved by the designated institutional official
                                          (DIO). (Core)




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   I.B.3.                The program must monitor the clinical learning and working
                         environment at all participating sites. (Core)

   I.B.3.a)                      At each participating site there must be one faculty member,
                                 designated by the program director as the site director, who
                                 is accountable for resident education at that site, in
                                 collaboration with the program director. (Core)

    Background and Intent: While all residency programs must be sponsored by a single
    ACGME-accredited Sponsoring Institution, many programs will utilize other clinical
    settings to provide required or elective training experiences. At times it is appropriate
    to utilize community sites that are not owned by or affiliated with the Sponsoring
    Institution. Some of these sites may be remote for geographic, transportation, or
    communication issues. When utilizing such sites the program must ensure the quality
    of the educational experience. The requirements under I.B.3. are intended to ensure
    that this will be the case.

    Suggested elements to be considered in PLAs will be found in the ACGME Program
    Director’s Guide to the Common Program Requirements. These include:
       • Identifying the faculty members who will assume educational and supervisory
           responsibility for residents
       • Specifying the responsibilities for teaching, supervision, and formal evaluation
           of residents
       • Specifying the duration and content of the educational experience
       • Stating the policies and procedures that will govern resident education during
           the assignment

   I.B.4.                The program director must submit any additions or deletions of
                         participating sites routinely providing an educational experience,
                         required for all residents, of one month full time equivalent (FTE) or
                         more through the ACGME’s Accreditation Data System (ADS). (Core)

                         [The Review Committee may further specify]

   I.C.           The program, in partnership with its Sponsoring Institution, must engage in
                  practices that focus on mission-driven, ongoing, systematic recruitment
                  and retention of a diverse and inclusive workforce of residents, fellows (if
                  present), faculty members, senior administrative staff members, and other
                  relevant members of its academic community. (Core)

    Background and Intent: It is expected that the Sponsoring Institution has, and
    programs implement, policies and procedures related to recruitment and retention of
    minorities underrepresented in medicine and medical leadership in accordance with
    the Sponsoring Institution’s mission and aims. The program’s annual evaluation must
    include an assessment of the program’s efforts to recruit and retain a diverse
    workforce, as noted in V.C.1.c).(5).(c).

   I.D.           Resources




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   I.D.1.                The program, in partnership with its Sponsoring Institution, must
                         ensure the availability of adequate resources for resident education.
                         (Core)



                         [The Review Committee must further specify]

   I.D.2.                The program, in partnership with its Sponsoring Institution, must
                         ensure healthy and safe learning and working environments that
                         promote resident well-being and provide for: (Core)

   I.D.2.a)                       access to food while on duty; (Core)

   I.D.2.b)                       safe, quiet, clean, and private sleep/rest facilities available
                                  and accessible for residents with proximity appropriate for
                                  safe patient care; (Core)

    Background and Intent: Care of patients within a hospital or health system occurs
    continually through the day and night. Such care requires that residents function at
    their peak abilities, which requires the work environment to provide them with the
    ability to meet their basic needs within proximity of their clinical responsibilities.
    Access to food and rest are examples of these basic needs, which must be met while
    residents are working. Residents should have access to refrigeration where food may
    be stored. Food should be available when residents are required to be in the hospital
    overnight. Rest facilities are necessary, even when overnight call is not required, to
    accommodate the fatigued resident.

   I.D.2.c)                       clean and private facilities for lactation that have refrigeration
                                  capabilities, with proximity appropriate for safe patient care;
                                  (Core)



    Background and Intent: Sites must provide private and clean locations where residents
    may lactate and store the milk within a refrigerator. These locations should be in close
    proximity to clinical responsibilities. It would be helpful to have additional support
    within these locations that may assist the resident with the continued care of patients,
    such as a computer and a phone. While space is important, the time required for
    lactation is also critical for the well-being of the resident and the resident's family, as
    outlined in VI.C.1.d).(1).

   I.D.2.d)                       security and safety measures appropriate to the participating
                                  site; and, (Core)

   I.D.2.e)                       accommodations for residents with disabilities consistent
                                  with the Sponsoring Institution’s policy. (Core)

   I.D.3.                Residents must have ready access to specialty-specific and other
                         appropriate reference material in print or electronic format. This
                         must include access to electronic medical literature databases with
                         full text capabilities. (Core)




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   I.D.4.                  The program’s educational and clinical resources must be adequate
                           to support the number of residents appointed to the program. (Core)

                           [The Review Committee may further specify]

   I.E.             The presence of other learners and other care providers, including, but not
                    limited to, residents from other programs, subspecialty fellows, and
                    advanced practice providers, must enrich the appointed residents’
                    education. (Core)

   I.E.1.                  The program must report circumstances when the presence of other
                           learners has interfered with the residents’ education to the DIO and
                           Graduate Medical Education Committee (GMEC). (Core)

    Background and Intent: The clinical learning environment has become increasingly
    complex and often includes care providers, students, and post-graduate residents and
    fellows from multiple disciplines. The presence of these practitioners and their
    learners enriches the learning environment. Programs have a responsibility to monitor
    the learning environment to ensure that residents’ education is not compromised by
    the presence of other providers and learners.

   II.       Personnel

   II.A.            Program Director

   II.A.1.                 There must be one faculty member appointed as program director
                           with authority and accountability for the overall program, including
                           compliance with all applicable program requirements. (Core)

   II.A.1.a)                      The Sponsoring Institution’s GMEC must approve a change in
                                  program director. (Core)

   II.A.1.b)                      Final approval of the program director resides with the
                                  Review Committee. (Core)

         Background and Intent: While the ACGME recognizes the value of input from
         numerous individuals in the management of a residency, a single individual must be
         designated as program director and have overall responsibility for the program. The
         program director’s nomination is reviewed and approved by the GMEC. Final approval
         of the program director resides with the applicable ACGME Review Committee.

   II.A.1.c)                      The program must demonstrate retention of the program
                                  director for a length of time adequate to maintain continuity
                                  of leadership and program stability. (Core)

                                  [The Review Committee may further specify]

         Background and Intent: The success of residency programs is generally enhanced by
         continuity in the program director position. The professional activities required of a
         program director are unique and complex and take time to master. All programs are




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     encouraged to undertake succession planning to facilitate program stability when
     there is necessary turnover in the program director position.

   II.A.2.               The program director and, as applicable, the program’s leadership
                         team, must be provided with support adequate for administration of
                         the program based upon its size and configuration. (Core)

                         [The Review Committee must further specify minimum dedicated
                         time for program administration, and will determine whether
                         program leadership refers to the program director or both the
                         program director and associate/assistant program director(s).]

    Background and Intent: To achieve successful graduate medical education, individuals
    serving as education and administrative leaders of residency programs, as well as
    those significantly engaged in the education, supervision, evaluation, and mentoring of
    residents, must have sufficient dedicated professional time to perform the vital
    activities required to sustain an accredited program.

    The ultimate outcome of graduate medical education is excellence in resident
    education and patient care.

    The program director and, as applicable, the program leadership team, devote a
    portion of their professional effort to the oversight and management of the residency
    program, as defined in II.A.4.-II.A.4.a).(16). Both provision of support for the time
    required for the leadership effort and flexibility regarding how this support is provided
    are important. Programs, in partnership with their Sponsoring Institutions, may provide
    support for this time in a variety of ways. Examples of support may include, but are not
    limited to, salary support, supplemental compensation, educational value units, or
    relief of time from other professional duties.

    Program directors and, as applicable, members of the program leadership team, who
    are new to the role may need to devote additional time to program oversight and
    management initially as they learn and become proficient in administering the
    program. It is suggested that during this initial period the support described above be
    increased as needed.

   II.A.3.               Qualifications of the program director:

   II.A.3.a)                     must include specialty expertise and at least three years of
                                 documented educational and/or administrative experience, or
                                 qualifications acceptable to the Review Committee; (Core)

    Background and Intent: Leading a program requires knowledge and skills that are
    established during residency and subsequently further developed. The time period
    from completion of residency until assuming the role of program director allows the
    individual to cultivate leadership abilities while becoming professionally established.
    The three-year period is intended for the individual's professional maturation.

    The broad allowance for educational and/or administrative experience recognizes that
    strong leaders arise through diverse pathways. These areas of expertise are important




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    when identifying and appointing a program director. The choice of a program director
    should be informed by the mission of the program and the needs of the community.

    In certain circumstances, the program and Sponsoring Institution may propose and the
    Review Committee may accept a candidate for program director who fulfills these
    goals but does not meet the three-year minimum.

   II.A.3.b)                     must include current certification in the specialty for which
                                 they are the program director by the American Board of _____
                                 or by the American Osteopathic Board of _____, or specialty
                                 qualifications that are acceptable to the Review Committee;
                                 (Core)



                                 [The Review Committee may further specify acceptable
                                 specialty qualifications or that only ABMS and AOA
                                 certification will be considered acceptable]

   II.A.3.c)                     must include current medical licensure and appropriate
                                 medical staff appointment; and, (Core)

   II.A.3.d)                     must include ongoing clinical activity. (Core)

    Background and Intent: A program director is a role model for faculty members and
    residents. The program director must participate in clinical activity consistent with the
    specialty. This activity will allow the program director to role model the Core
    Competencies for the faculty members and residents.

                         [The Review Committee may further specify additional program
                         director qualifications]

   II.A.4.               Program Director Responsibilities

                         The program director must have responsibility, authority, and
                         accountability for: administration and operations; teaching and
                         scholarly activity; resident recruitment and selection, evaluation,
                         and promotion of residents, and disciplinary action; supervision of
                         residents; and resident education in the context of patient care. (Core)

   II.A.4.a)                     The program director must:

   II.A.4.a).(1)                          be a role model of professionalism; (Core)

     Background and Intent: The program director, as the leader of the program, must
     serve as a role model to residents in addition to fulfilling the technical aspects of the
     role. As residents are expected to demonstrate compassion, integrity, and respect for
     others, they must be able to look to the program director as an exemplar. It is of
     utmost importance, therefore, that the program director model outstanding
     professionalism, high quality patient care, educational excellence, and a scholarly
     approach to work. The program director creates an environment where respectful




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      discussion is welcome, with the goal of continued improvement of the educational
      experience.

    II.A.4.a).(2)                        design and conduct the program in a fashion
                                         consistent with the needs of the community, the
                                         mission(s) of the Sponsoring Institution, and the
                                         mission(s) of the program; (Core)

     Background and Intent: The mission of institutions participating in graduate medical
     education is to improve the health of the public. Each community has health needs that
     vary based upon location and demographics. Programs must understand the social
     determinants of health of the populations they serve and incorporate them in the
     design and implementation of the program curriculum, with the ultimate goal of
     addressing these needs and health disparities.

    II.A.4.a).(3)                        administer and maintain a learning environment
                                         conducive to educating the residents in each of the
                                         ACGME Competency domains; (Core)

      Background and Intent: The program director may establish a leadership team to
      assist in the accomplishment of program goals. Residency programs can be highly
      complex. In a complex organization, the leader typically has the ability to delegate
      authority to others, yet remains accountable. The leadership team may include
      physician and non-physician personnel with varying levels of education, training, and
      experience.

    II.A.4.a).(4)                        develop and oversee a process to evaluate candidates
                                         prior to approval as program faculty members for
                                         participation in the residency program education and
                                         at least annually thereafter, as outlined in V.B.; (Core)

    II.A.4.a).(5)                        have the authority to approve program faculty
                                         members for participation in the residency program
                                         education at all sites; (Core)

    II.A.4.a).(6)                        have the authority to remove program faculty
                                         members from participation in the residency program
                                         education at all sites; (Core)

    II.A.4.a).(7)                        have the authority to remove residents from
                                         supervising interactions and/or learning environments
                                         that do not meet the standards of the program; (Core)

     Background and Intent: The program director has the responsibility to ensure that all
     who educate residents effectively role model the Core Competencies. Working with a
     resident is a privilege that is earned through effective teaching and professional role
     modeling. This privilege may be removed by the program director when the standards
     of the clinical learning environment are not met.




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     There may be faculty in a department who are not part of the educational program, and
     the program director controls who is teaching the residents.

    II.A.4.a).(8)                        submit accurate and complete information required
                                         and requested by the DIO, GMEC, and ACGME; (Core)

    II.A.4.a).(9)                        provide applicants who are offered an interview with
                                         information related to the applicant’s eligibility for the
                                         relevant specialty board examination(s); (Core)

    II.A.4.a).(10)                       provide a learning and working environment in which
                                         residents have the opportunity to raise concerns and
                                         provide feedback in a confidential manner as
                                         appropriate, without fear of intimidation or retaliation;
                                         (Core)



    II.A.4.a).(11)                       ensure the program’s compliance with the Sponsoring
                                         Institution’s policies and procedures related to
                                         grievances and due process; (Core)

    II.A.4.a).(12)                       ensure the program’s compliance with the Sponsoring
                                         Institution’s policies and procedures for due process
                                         when action is taken to suspend or dismiss, not to
                                         promote, or not to renew the appointment of a
                                         resident; (Core)

     Background and Intent: A program does not operate independently of its Sponsoring
     Institution. It is expected that the program director will be aware of the Sponsoring
     Institution’s policies and procedures, and will ensure they are followed by the
     program’s leadership, faculty members, support personnel, and residents.

    II.A.4.a).(13)                       ensure the program’s compliance with the Sponsoring
                                         Institution’s policies and procedures on employment
                                         and non-discrimination; (Core)

    II.A.4.a).(13).(a)                            Residents must not be required to sign a non-
                                                  competition guarantee or restrictive covenant.
                                                  (Core)



    II.A.4.a).(14)                       document verification of program completion for all
                                         graduating residents within 30 days; (Core)

    II.A.4.a).(15)                       provide verification of an individual resident’s
                                         completion upon the resident’s request, within 30
                                         days; and, (Core)

     Background and Intent: Primary verification of graduate medical education is
     important to credentialing of physicians for further training and practice. Such
     verification must be accurate and timely. Sponsoring Institution and program policies
     for record retention are important to facilitate timely documentation of residents who




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     have previously completed the program. Residents who leave the program prior to
     completion also require timely documentation of their summative evaluation.

    II.A.4.a).(16)                        obtain review and approval of the Sponsoring
                                          Institution’s DIO before submitting information or
                                          requests to the ACGME, as required in the Institutional
                                          Requirements and outlined in the ACGME Program
                                          Director’s Guide to the Common Program
                                          Requirements. (Core)

    II.B.            Faculty

                     Faculty members are a foundational element of graduate medical education
                     – faculty members teach residents how to care for patients. Faculty
                     members provide an important bridge allowing residents to grow and
                     become practice-ready, ensuring that patients receive the highest quality of
                     care. They are role models for future generations of physicians by
                     demonstrating compassion, commitment to excellence in teaching and
                     patient care, professionalism, and a dedication to lifelong learning. Faculty
                     members experience the pride and joy of fostering the growth and
                     development of future colleagues. The care they provide is enhanced by
                     the opportunity to teach. By employing a scholarly approach to patient
                     care, faculty members, through the graduate medical education system,
                     improve the health of the individual and the population.

                     Faculty members ensure that patients receive the level of care expected
                     from a specialist in the field. They recognize and respond to the needs of
                     the patients, residents, community, and institution. Faculty members
                     provide appropriate levels of supervision to promote patient safety. Faculty
                     members create an effective learning environment by acting in a
                     professional manner and attending to the well-being of the residents and
                     themselves.

      Background and Intent: “Faculty” refers to the entire teaching force responsible for
      educating residents. The term “faculty,” including “core faculty,” does not imply or
      require an academic appointment.

    II.B.1.                 At each participating site, there must be a sufficient number of
                            faculty members with competence to instruct and supervise all
                            residents at that location. (Core)

                            [The Review Committee may further specify]

    II.B.2.                 Faculty members must:

    II.B.2.a)                      be role models of professionalism; (Core)

    II.B.2.b)                      demonstrate commitment to the delivery of safe, quality,
                                   cost-effective, patient-centered care; (Core)




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      Background and Intent: Patients have the right to expect quality, cost-effective care
      with patient safety at its core. The foundation for meeting this expectation is formed
      during residency and fellowship. Faculty members model these goals and continually
      strive for improvement in care and cost, embracing a commitment to the patient and
      the community they serve.

    II.B.2.c)                     demonstrate a strong interest in the education of residents;
                                  (Core)



    II.B.2.d)                     devote sufficient time to the educational program to fulfill
                                  their supervisory and teaching responsibilities; (Core)

    II.B.2.e)                     administer and maintain an educational environment
                                  conducive to educating residents; (Core)

    II.B.2.f)                     regularly participate in organized clinical discussions,
                                  rounds, journal clubs, and conferences; and, (Core)

    II.B.2.g)                     pursue faculty development designed to enhance their skills
                                  at least annually: (Core)

      Background and Intent: Faculty development is intended to describe structured
      programming developed for the purpose of enhancing transference of knowledge,
      skill, and behavior from the educator to the learner. Faculty development may occur
      in a variety of configurations (lecture, workshop, etc.) using internal and/or external
      resources. Programming is typically needs-based (individual or group) and may be
      specific to the institution or the program. Faculty development programming is to be
      reported for the residency program faculty in the aggregate.

    II.B.2.g).(1)                          as educators; (Core)

    II.B.2.g).(2)                          in quality improvement and patient safety; (Core)

    II.B.2.g).(3)                          in fostering their own and their residents’ well-being;
                                           and, (Core)

    II.B.2.g).(4)                          in patient care based on their practice-based learning
                                           and improvement efforts. (Core)

     Background and Intent: Practice-based learning serves as the foundation for the
     practice of medicine. Through a systematic analysis of one’s practice and review of the
     literature, one is able to make adjustments that improve patient outcomes and care.
     Thoughtful consideration to practice-based analysis improves quality of care, as well
     as patient safety. This allows faculty members to serve as role models for residents in
     practice-based learning.

                          [The Review Committee may further specify additional faculty
                          responsibilities]

    II.B.3.               Faculty Qualifications




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    II.B.3.a)                     Faculty members must have appropriate qualifications in
                                  their field and hold appropriate institutional appointments.
                                  (Core)



                                  [The Review Committee may further specify]

    II.B.3.b)                     Physician faculty members must:

    II.B.3.b).(1)                          have current certification in the specialty by the
                                           American Board of _____ or the American Osteopathic
                                           Board of _____, or possess qualifications judged
                                           acceptable to the Review Committee. (Core)

                                  [The Review Committee may further specify additional
                                  qualifications]

    II.B.3.c)                     Any non-physician faculty members who participate in
                                  residency program education must be approved by the
                                  program director. (Core)

                                  [The Review Committee may further specify]

      Background and Intent: The provision of optimal and safe patient care requires a team
      approach. The education of residents by non-physician educators enables the
      resident to better manage patient care and provides valuable advancement of the
      residents’ knowledge. Furthermore, other individuals contribute to the education of
      the resident in the basic science of the specialty or in research methodology. If the
      program director determines that the contribution of a non-physician individual is
      significant to the education of the residents, the program director may designate the
      individual as a program faculty member or a program core faculty member.

    II.B.4.               Core Faculty

                          Core faculty members must have a significant role in the education
                          and supervision of residents and must devote a significant portion
                          of their entire effort to resident education and/or administration, and
                          must, as a component of their activities, teach, evaluate, and
                          provide formative feedback to residents. (Core)

     Background and Intent: Core faculty members are critical to the success of resident
     education. They support the program leadership in developing, implementing, and
     assessing curriculum, mentoring residents, and assessing residents’ progress toward
     achievement of competence in and the independent practice of the specialty. Core
     faculty members should be selected for their broad knowledge of and involvement in
     the program, permitting them to effectively evaluate the program. Core faculty
     members may also be selected for their specific expertise and unique contribution to
     the program. Core faculty members are engaged in a broad range of activities, which
     may vary across programs and specialties. Core faculty members provide clinical
     teaching and supervision of residents, and also participate in non-clinical activities
     related to resident education and program administration. Examples of these non-



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     clinical activities include, but are not limited to, interviewing and selecting resident
     applicants, providing didactic instruction, mentoring residents, simulation exercises,
     completing the annual ACGME Faculty Survey, and participating on the program’s
     Clinical Competency Committee, Program Evaluation Committee, and other GME
     committees.

    II.B.4.a)                     Core faculty members must be designated by the program
                                  director. (Core)

    II.B.4.b)                     Core faculty members must complete the annual ACGME
                                  Faculty Survey. (Core)

                          [The Review Committee must specify the minimum number of core
                          faculty and/or the core faculty-resident ratio]

                          [The Review Committee may further specify requirements regarding
                          dedicated time for core faculty members]

                          [The Review Committee may specify requirements specific to
                          associate program director(s)]

    II.C.          Program Coordinator

    II.C.1.               There must be a program coordinator. (Core)

    II.C.2.               The program coordinator must be provided with dedicated time and
                          support adequate for administration of the program based upon its
                          size and configuration. (Core)

                          [The Review Committee must further specify minimum dedicated
                          time for the program coordinator.]

     Background and Intent: The requirement does not address the source of funding
     required to provide the specified salary support.

     Each program requires a lead administrative person, frequently referred to as a
     program coordinator, administrator, or as otherwise titled by the institution. This
     person will frequently manage the day-to-day operations of the program and serve as
     an important liaison and facilitator between the learners, faculty and other staff
     members, and the ACGME. Individuals serving in this role are recognized as program
     coordinators by the ACGME.

     The program coordinator is a key member of the leadership team and is critical to the
     success of the program. As such, the program coordinator must possess skills in
     leadership and personnel management appropriate to the complexity of the program.
     Program coordinators are expected to develop in-depth knowledge of the ACGME and
     Program Requirements, including policies and procedures. Program coordinators
     assist the program director in meeting accreditation requirements, educational
     programming, and support of residents.




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     Programs, in partnership with their Sponsoring Institutions, should encourage the
     professional development of their program coordinators and avail them of
     opportunities for both professional and personal growth. Programs with fewer
     residents may not require a full-time coordinator; one coordinator may support more
     than one program.

     The minimum required dedicated time and support specified in II.C.2.a) is inclusive of
     activities directly related to administration of the accredited program. It is understood
     that coordinators often have additional responsibilities, beyond those directly related
     to program administration, including, but not limited to, departmental administrative
     responsibilities, medical school clerkships, planning lectures that are not solely
     intended for the accredited program, and mandatory reporting for entities other than
     the ACGME. Assignment of these other responsibilities will necessitate consideration
     of allocation of additional support so as not to preclude the coordinator from devoting
     the time specified above solely to administrative activities that support the accredited
     program.

     In addition, it is important to remember that the dedicated time and support
     requirement for ACGME activities is a minimum, recognizing that, depending on the
     unique needs of the program, additional support may be warranted.

    II.D.            Other Program Personnel

                     The program, in partnership with its Sponsoring Institution, must jointly
                     ensure the availability of necessary personnel for the effective
                     administration of the program. (Core)

                     [The Review Committee may further specify]

     Background and Intent: Multiple personnel may be required to effectively administer a
     program. These may include staff members with clerical skills, project managers,
     education experts, and staff members to maintain electronic communication for the
     program. These personnel may support more than one program in more than one
     discipline.

    III.       Resident Appointments

    III.A.           Eligibility Requirements

    III.A.1.               An applicant must meet one of the following qualifications to be
                           eligible for appointment to an ACGME-accredited program: (Core)

    III.A.1.a)                    graduation from a medical school in the United States or
                                  Canada, accredited by the Liaison Committee on Medical
                                  Education (LCME) or graduation from a college of
                                  osteopathic medicine in the United States, accredited by the
                                  American Osteopathic Association Commission on
                                  Osteopathic College Accreditation (AOACOCA); or, (Core)




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    III.A.1.b)                    graduation from a medical school outside of the United
                                  States or Canada, and meeting one of the following additional
                                  qualifications: (Core)

    III.A.1.b).(1)                       holding a currently valid certificate from the
                                         Educational Commission for Foreign Medical
                                         Graduates (ECFMG) prior to appointment; or, (Core)

    III.A.1.b).(2)                       holding a full and unrestricted license to practice
                                         medicine in the United States licensing jurisdiction in
                                         which the ACGME-accredited program is located. (Core)

    III.A.2.              All prerequisite post-graduate clinical education required for initial
                          entry or transfer into ACGME-accredited residency programs must
                          be completed in ACGME-accredited residency programs, AOA-
                          approved residency programs, Royal College of Physicians and
                          Surgeons of Canada (RCPSC)-accredited or College of Family
                          Physicians of Canada (CFPC)-accredited residency programs
                          located in Canada, or in residency programs with ACGME
                          International (ACGME-I) Advanced Specialty Accreditation. (Core)

    III.A.2.a)                    Residency programs must receive verification of each
                                  resident’s level of competency in the required clinical field
                                  using ACGME, CanMEDS, or ACGME-I Milestones evaluations
                                  from the prior training program upon matriculation. (Core)

                                  [The Review Committee may further specify prerequisite
                                  postgraduate clinical education]

     Background and Intent: Programs with ACGME-I Foundational Accreditation or from
     institutions with ACGME-I accreditation do not qualify unless the program has also
     achieved ACGME-I Advanced Specialty Accreditation. To ensure entrants into ACGME-
     accredited programs from ACGME-I programs have attained the prerequisite
     milestones for this training, they must be from programs that have ACGME-I Advanced
     Specialty Accreditation.

    III.A.3.              A physician who has completed a residency program that was not
                          accredited by ACGME, AOA, RCPSC, CFPC, or ACGME-I (with
                          Advanced Specialty Accreditation) may enter an ACGME-accredited
                          residency program in the same specialty at the PGY-1 level and, at
                          the discretion of the program director of the ACGME-accredited
                          program and with approval by the GMEC, may be advanced to the
                          PGY-2 level based on ACGME Milestones evaluations at the ACGME-
                          accredited program. This provision applies only to entry into
                          residency in those specialties for which an initial clinical year is not
                          required for entry. (Core)

    III.A.4.              Resident Eligibility Exception

                          The Review Committee for ______ will allow the following exception
                          to the resident eligibility requirements: (Core)



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                           [Note: A Review Committee may permit the eligibility exception if the
                           specialty requires completion of a prerequisite residency program
                           prior to admission. If the specialty-specific Program Requirements
                           define multiple program formats, the Review Committee may permit
                           the exception only for the format(s) that require completion of a
                           prerequisite residency program prior to admission. If this language
                           is not applicable, this section will not appear in the specialty-
                           specific requirements.]

    III.A.4.a)                    An ACGME-accredited residency program may accept an
                                  exceptionally qualified international graduate applicant who
                                  does not satisfy the eligibility requirements listed in III.A.1.-
                                  III.A.3., but who does meet all of the following additional
                                  qualifications and conditions: (Core)

    III.A.4.a).(1)                        evaluation by the program director and residency
                                          selection committee of the applicant’s suitability to
                                          enter the program, based on prior training and review
                                          of the summative evaluations of this training; and, (Core)

    III.A.4.a).(2)                        review and approval of the applicant’s exceptional
                                          qualifications by the GMEC; and, (Core)

    III.A.4.a).(3)                        verification of Educational Commission for Foreign
                                          Medical Graduates (ECFMG) certification. (Core)

    III.A.4.b)                    Applicants accepted through this exception must have an
                                  evaluation of their performance by the Clinical Competency
                                  Committee within 12 weeks of matriculation. (Core)

    III.B.           The program director must not appoint more residents than approved by
                     the Review Committee. (Core)

    III.B.1.               All complement increases must be approved by the Review
                           Committee. (Core)

                     [The Review Committee may further specify minimum complement
                     numbers]

    III.C.           Resident Transfers

                     The program must obtain verification of previous educational experiences
                     and a summative competency-based performance evaluation prior to
                     acceptance of a transferring resident, and Milestones evaluations upon
                     matriculation. (Core)

                     [The Review Committee may further specify]

    IV.        Educational Program




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              The ACGME accreditation system is designed to encourage excellence and
              innovation in graduate medical education regardless of the organizational
              affiliation, size, or location of the program.

              The educational program must support the development of knowledgeable, skillful
              physicians who provide compassionate care.

              In addition, the program is expected to define its specific program aims consistent
              with the overall mission of its Sponsoring Institution, the needs of the community
              it serves and that its graduates will serve, and the distinctive capabilities of
              physicians it intends to graduate. While programs must demonstrate substantial
              compliance with the Common and specialty-specific Program Requirements, it is
              recognized that within this framework, programs may place different emphasis on
              research, leadership, public health, etc. It is expected that the program aims will
              reflect the nuanced program-specific goals for it and its graduates; for example, it
              is expected that a program aiming to prepare physician-scientists will have a
              different curriculum from one focusing on community health.

    IV.A.            The curriculum must contain the following educational components: (Core)

    IV.A.1.                 a set of program aims consistent with the Sponsoring Institution’s
                            mission, the needs of the community it serves, and the desired
                            distinctive capabilities of its graduates; (Core)

    IV.A.1.a)                      The program’s aims must be made available to program
                                   applicants, residents, and faculty members. (Core)

    IV.A.2.                 competency-based goals and objectives for each educational
                            experience designed to promote progress on a trajectory to
                            autonomous practice. These must be distributed, reviewed, and
                            available to residents and faculty members; (Core)

      Background and Intent: The trajectory to autonomous practice is documented by
      Milestones evaluation. The Milestones detail the progress of a resident in attaining
      skill in each competency domain. They are developed by each specialty group and
      allow evaluation based on observable behaviors. Milestones are considered formative
      and should be used to identify learning needs. This may lead to focused or general
      curricular revision in any given program or to individualized learning plans for any
      specific resident.

    IV.A.3.                 delineation of resident responsibilities for patient care, progressive
                            responsibility for patient management, and graded supervision; (Core)

      Background and Intent: These responsibilities may generally be described by PGY
      level and specifically by Milestones progress as determined by the Clinical
      Competency Committee. This approach encourages the transition to competency-
      based education. An advanced learner may be granted more responsibility
      independent of PGY level and a learner needing more time to accomplish a certain
      task may do so in a focused rather than global manner.

    IV.A.4.                 a broad range of structured didactic activities; (Core)



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    IV.A.4.a)                     Residents must be provided with protected time to participate
                                  in core didactic activities. (Core)

      Background and Intent: It is intended that residents will participate in structured
      didactic activities. It is recognized that there may be circumstances in which this is
      not possible. Programs should define core didactic activities for which time is
      protected and the circumstances in which residents may be excused from these
      didactic activities. Didactic activities may include, but are not limited to, lectures,
      conferences, courses, labs, asynchronous learning, simulations, drills, case
      discussions, grand rounds, didactic teaching, and education in critical appraisal of
      medical evidence.

    IV.A.5.               advancement of residents’ knowledge of ethical principles
                          foundational to medical professionalism; and, (Core)

    IV.A.6.               advancement in the residents’ knowledge of the basic principles of
                          scientific inquiry, including how research is designed, conducted,
                          evaluated, explained to patients, and applied to patient care. (Core)

    IV.B.           ACGME Competencies

      Background and Intent: The Competencies provide a conceptual framework
      describing the required domains for a trusted physician to enter autonomous
      practice. These Competencies are core to the practice of all physicians, although the
      specifics are further defined by each specialty. The developmental trajectories in each
      of the Competencies are articulated through the Milestones for each specialty.

    IV.B.1.               The program must integrate the following ACGME Competencies
                          into the curriculum: (Core)

    IV.B.1.a)                     Professionalism

                                  Residents must demonstrate a commitment to
                                  professionalism and an adherence to ethical principles. (Core)

    IV.B.1.a).(1)                        Residents must demonstrate competence in:

    IV.B.1.a).(1).(a)                            compassion, integrity, and respect for others;
                                                 (Core)



    IV.B.1.a).(1).(b)                            responsiveness to patient needs that
                                                 supersedes self-interest; (Core)

      Background and Intent: This includes the recognition that under certain
      circumstances, the interests of the patient may be best served by transitioning care to
      another provider. Examples include fatigue, conflict or duality of interest, not
      connecting well with a patient, or when another physician would be better for the
      situation based on skill set or knowledge base.




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    IV.B.1.a).(1).(c)                            respect for patient privacy and autonomy; (Core)

    IV.B.1.a).(1).(d)                            accountability to patients, society, and the
                                                 profession; (Core)

    IV.B.1.a).(1).(e)                            respect and responsiveness to diverse patient
                                                 populations, including but not limited to
                                                 diversity in gender, age, culture, race, religion,
                                                 disabilities, national origin, socioeconomic
                                                 status, and sexual orientation; (Core)

    IV.B.1.a).(1).(f)                            ability to recognize and develop a plan for one’s
                                                 own personal and professional well-being; and,
                                                 (Core)



    IV.B.1.a).(1).(g)                            appropriately disclosing and addressing
                                                 conflict or duality of interest. (Core)

    IV.B.1.b)                     Patient Care and Procedural Skills

      Background and Intent: Quality patient care is safe, effective, timely, efficient, patient-
      centered, equitable, and designed to improve population health, while reducing per
      capita costs. (See the Institute of Medicine [IOM]’s Crossing the Quality Chasm: A
      New Health System for the 21st Century, 2001 and Berwick D, Nolan T, Whittington J.
      The Triple Aim: care, cost, and quality. Health Affairs. 2008; 27(3):759-769.). In
      addition, there should be a focus on improving the clinician’s well-being as a means
      to improve patient care and reduce burnout among residents, fellows, and practicing
      physicians.

      These organizing principles inform the Common Program Requirements across all
      Competency domains. Specific content is determined by the Review Committees with
      input from the appropriate professional societies, certifying boards, and the
      community.

    IV.B.1.b).(1)                        Residents must be able to provide patient care that is
                                         compassionate, appropriate, and effective for the
                                         treatment of health problems and the promotion of
                                         health. (Core)

                                         [The Review Committee must further specify]

    IV.B.1.b).(2)                        Residents must be able to perform all medical,
                                         diagnostic, and surgical procedures considered
                                         essential for the area of practice. (Core)

                                         [The Review Committee may further specify]

    IV.B.1.c)                     Medical Knowledge

                                  Residents must demonstrate knowledge of established and
                                  evolving biomedical, clinical, epidemiological and social-



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                                  behavioral sciences, as well as the application of this
                                  knowledge to patient care. (Core)

                                  [The Review Committee must further specify]

    IV.B.1.d)                     Practice-based Learning and Improvement

                                  Residents must demonstrate the ability to investigate and
                                  evaluate their care of patients, to appraise and assimilate
                                  scientific evidence, and to continuously improve patient care
                                  based on constant self-evaluation and lifelong learning. (Core)

      Background and Intent: Practice-based learning and improvement is one of the
      defining characteristics of being a physician. It is the ability to investigate and
      evaluate the care of patients, to appraise and assimilate scientific evidence, and to
      continuously improve patient care based on constant self-evaluation and lifelong
      learning.

      The intention of this Competency is to help a physician develop the habits of mind
      required to continuously pursue quality improvement, well past the completion of
      residency.

    IV.B.1.d).(1)                        Residents must demonstrate competence in:

    IV.B.1.d).(1).(a)                            identifying strengths, deficiencies, and limits in
                                                 one’s knowledge and expertise; (Core)

    IV.B.1.d).(1).(b)                            setting learning and improvement goals; (Core)

    IV.B.1.d).(1).(c)                            identifying and performing appropriate learning
                                                 activities; (Core)

    IV.B.1.d).(1).(d)                            systematically analyzing practice using quality
                                                 improvement methods, and implementing
                                                 changes with the goal of practice improvement;
                                                 (Core)



    IV.B.1.d).(1).(e)                            incorporating feedback and formative
                                                 evaluation into daily practice; (Core)

    IV.B.1.d).(1).(f)                            locating, appraising, and assimilating evidence
                                                 from scientific studies related to their patients’
                                                 health problems; and, (Core)

    IV.B.1.d).(1).(g)                            using information technology to optimize
                                                 learning. (Core)

                                  [The Review Committee may further specify by adding to the
                                  list of sub-competencies]

    IV.B.1.e)                     Interpersonal and Communication Skills



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                                  Residents must demonstrate interpersonal and
                                  communication skills that result in the effective exchange of
                                  information and collaboration with patients, their families,
                                  and health professionals. (Core)

    IV.B.1.e).(1)                        Residents must demonstrate competence in:

    IV.B.1.e).(1).(a)                             communicating effectively with patients,
                                                  families, and the public, as appropriate, across
                                                  a broad range of socioeconomic and cultural
                                                  backgrounds; (Core)

    IV.B.1.e).(1).(b)                             communicating effectively with physicians,
                                                  other health professionals, and health-related
                                                  agencies; (Core)

    IV.B.1.e).(1).(c)                             working effectively as a member or leader of a
                                                  health care team or other professional group;
                                                  (Core)



    IV.B.1.e).(1).(d)                             educating patients, families, students,
                                                  residents, and other health professionals; (Core)

    IV.B.1.e).(1).(e)                             acting in a consultative role to other physicians
                                                  and health professionals; and, (Core)

    IV.B.1.e).(1).(f)                             maintaining comprehensive, timely, and legible
                                                  medical records, if applicable. (Core)

    IV.B.1.e).(2)                        Residents must learn to communicate with patients
                                         and families to partner with them to assess their care
                                         goals, including, when appropriate, end-of-life goals.
                                         (Core)



                                  [The Review Committee may further specify by adding to the
                                  list of sub-competencies]

     Background and Intent: When there are no more medications or interventions that can
     achieve a patient’s goals or provide meaningful improvements in quality or length of
     life, a discussion about the patient’s goals, values, and choices surrounding the end of
     life is one of the most important conversations that can occur. Residents must learn to
     participate effectively and compassionately in these meaningful human interactions,
     for the sake of their patients and themselves.

     Programs may teach this skill through direct clinical experience, simulation, or other
     means of active learning.

    IV.B.1.f)                     Systems-based Practice




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                                  Residents must demonstrate an awareness of and
                                  responsiveness to the larger context and system of health
                                  care, including the social determinants of health, as well as
                                  the ability to call effectively on other resources to provide
                                  optimal health care. (Core)

    IV.B.1.f).(1)                        Residents must demonstrate competence in:

    IV.B.1.f).(1).(a)                            working effectively in various health care
                                                 delivery settings and systems relevant to their
                                                 clinical specialty; (Core)

     Background and Intent: Medical practice occurs in the context of an increasingly
     complex clinical care environment where optimal patient care requires attention to
     compliance with external and internal administrative and regulatory requirements.

    IV.B.1.f).(1).(b)                            coordinating patient care across the health care
                                                 continuum and beyond as relevant to their
                                                 clinical specialty; (Core)

      Background and Intent: Every patient deserves to be treated as a whole person.
      Therefore it is recognized that any one component of the health care system does not
      meet the totality of the patient's needs. An appropriate transition plan requires
      coordination and forethought by an interdisciplinary team. The patient benefits from
      proper care and the system benefits from proper use of resources.

    IV.B.1.f).(1).(c)                            advocating for quality patient care and optimal
                                                 patient care systems; (Core)

    IV.B.1.f).(1).(d)                            working in interprofessional teams to enhance
                                                 patient safety and improve patient care quality;
                                                 (Core)



    IV.B.1.f).(1).(e)                            participating in identifying system errors and
                                                 implementing potential systems solutions; (Core)

    IV.B.1.f).(1).(f)                            incorporating considerations of value, cost
                                                 awareness, delivery and payment, and risk-
                                                 benefit analysis in patient and/or population-
                                                 based care as appropriate; and, (Core)

    IV.B.1.f).(1).(g)                            understanding health care finances and its
                                                 impact on individual patients’ health decisions.
                                                 (Core)



    IV.B.1.f).(2)                        Residents must learn to advocate for patients within
                                         the health care system to achieve the patient's and
                                         family's care goals, including, when appropriate, end-
                                         of-life goals. (Core)




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                                  [The Review Committee may further specify by adding to the
                                  list of sub-competencies]

    IV.C.          Curriculum Organization and Resident Experiences

    IV.C.1.               The curriculum must be structured to optimize resident educational
                          experiences, the length of these experiences, and supervisory
                          continuity. (Core)

                          [The Review Committee must further specify]

      Background and Intent: In some specialties, frequent rotational transitions,
      inadequate continuity of faculty member supervision, and dispersed patient locations
      within the hospital have adversely affected optimal resident education and effective
      team-based care. The need for patient care continuity varies from specialty to
      specialty and by clinical situation, and may be addressed by the individual Review
      Committee.

    IV.C.2.               The program must provide instruction and experience in pain
                          management if applicable for the specialty, including recognition of
                          the signs of addiction. (Core)

                          [The Review Committee may further specify]

                   [The Review Committee may specify required didactic and clinical
                   experiences]

    IV.D.          Scholarship

                   Medicine is both an art and a science. The physician is a humanistic
                   scientist who cares for patients. This requires the ability to think critically,
                   evaluate the literature, appropriately assimilate new knowledge, and
                   practice lifelong learning. The program and faculty must create an
                   environment that fosters the acquisition of such skills through resident
                   participation in scholarly activities. Scholarly activities may include
                   discovery, integration, application, and teaching.

                   The ACGME recognizes the diversity of residencies and anticipates that
                   programs prepare physicians for a variety of roles, including clinicians,
                   scientists, and educators. It is expected that the program’s scholarship will
                   reflect its mission(s) and aims, and the needs of the community it serves.
                   For example, some programs may concentrate their scholarly activity on
                   quality improvement, population health, and/or teaching, while other
                   programs might choose to utilize more classic forms of biomedical
                   research as the focus for scholarship.

    IV.D.1.               Program Responsibilities

    IV.D.1.a)                     The program must demonstrate evidence of scholarly
                                  activities consistent with its mission(s) and aims. (Core)




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    IV.D.1.b)                     The program, in partnership with its Sponsoring Institution,
                                  must allocate adequate resources to facilitate resident and
                                  faculty involvement in scholarly activities. (Core)

                                  [The Review Committee may further specify]

    IV.D.1.c)                     The program must advance residents’ knowledge and
                                  practice of the scholarly approach to evidence-based patient
                                  care. (Core)

     Background and Intent: The scholarly approach can be defined as a synthesis of
     teaching, learning, and research with the aim of encouraging curiosity and critical
     thinking based on an understanding of physiology, pathophysiology, differential
     diagnosis, treatments, treatment alternatives, efficiency of care, and patient safety.
     While some faculty members are responsible for fulfilling the traditional elements of
     scholarship through research, integration, and teaching, all faculty members are
     responsible for advancing residents’ scholarly approach to patient care.

     Elements of a scholarly approach to patient care include:
        • Asking meaningful questions to stimulate residents to utilize learning resources
           to create a differential diagnosis, a diagnostic algorithm, and treatment plan
        • Challenging the evidence that the residents use to reach their medical decisions
           so that they understand the benefits and limits of the medical literature
        • When appropriate, dissemination of scholarly learning in a peer-reviewed
           manner (publication or presentation)
        • Improving resident learning by encouraging them to teach using a scholarly
           approach

     The scholarly approach to patient care begins with curiosity, is grounded in the
     principles of evidence-based medicine, expands the knowledge base through
     dissemination, and develops the habits of lifelong learning by encouraging residents
     to be scholarly teachers.

    IV.D.2.               Faculty Scholarly Activity

    IV.D.2.a)                     Among their scholarly activity, programs must demonstrate
                                  accomplishments in at least three of the following domains:
                                  (Core)



                                       •   Research in basic science, education, translational
                                           science, patient care, or population health
                                       •   Peer-reviewed grants
                                       •   Quality improvement and/or patient safety initiatives
                                       •   Systematic reviews, meta-analyses, review articles,
                                           chapters in medical textbooks, or case reports
                                       •   Creation of curricula, evaluation tools, didactic
                                           educational activities, or electronic educational
                                           materials
                                       •   Contribution to professional committees, educational
                                           organizations, or editorial boards



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                                      •   Innovations in education

    IV.D.2.b)                     The program must demonstrate dissemination of scholarly
                                  activity within and external to the program by the following
                                  methods:

                                  [Review Committee will choose to require either IV.D.2.b).(1)
                                  or both IV.D.2.b).(1) and IV.D.2.b).(2)]

         Background and Intent: For the purposes of education, metrics of scholarly activity
         represent one of the surrogates for the program’s effectiveness in the creation of an
         environment of inquiry that advances the residents’ scholarly approach to patient
         care. The Review Committee will evaluate the dissemination of scholarship for the
         program as a whole, not for individual faculty members, for a five-year interval, for
         both core and non-core faculty members, with the goal of assessing the effectiveness
         of the creation of such an environment. The ACGME recognizes that there may be
         differences in scholarship requirements between different specialties and between
         residencies and fellowships in the same specialty.

    IV.D.2.b).(1)                         faculty participation in grand rounds, posters,
                                          workshops, quality improvement presentations,
                                          podium presentations, grant leadership, non-peer-
                                          reviewed print/electronic resources, articles or
                                          publications, book chapters, textbooks, webinars,
                                          service on professional committees, or serving as a
                                          journal reviewer, journal editorial board member, or
                                          editor; (Outcome)‡

    IV.D.2.b).(2)                         peer-reviewed publication. (Outcome)

    IV.D.3.                Resident Scholarly Activity

    IV.D.3.a)                     Residents must participate in scholarship. (Core)

                                  [The Review Committee may further specify]

    V.        Evaluation

    V.A.            Resident Evaluation

    V.A.1.                 Feedback and Evaluation

         Background and Intent: Feedback is ongoing information provided regarding aspects
         of one’s performance, knowledge, or understanding. The faculty empower residents
         to provide much of that feedback themselves in a spirit of continuous learning and
         self-reflection. Feedback from faculty members in the context of routine clinical care
         should be frequent, and need not always be formally documented.

         Formative and summative evaluation have distinct definitions. Formative evaluation is
         monitoring resident learning and providing ongoing feedback that can be used by




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      residents to improve their learning in the context of provision of patient care or other
      educational opportunities. More specifically, formative evaluations help:
         • residents identify their strengths and weaknesses and target areas that need
             work
         • program directors and faculty members recognize where residents are
             struggling and address problems immediately

      Summative evaluation is evaluating a resident’s learning by comparing the residents
      against the goals and objectives of the rotation and program, respectively. Summative
      evaluation is utilized to make decisions about promotion to the next level of training,
      or program completion.

      End-of-rotation and end-of-year evaluations have both summative and formative
      components. Information from a summative evaluation can be used formatively when
      residents or faculty members use it to guide their efforts and activities in subsequent
      rotations and to successfully complete the residency program.

      Feedback, formative evaluation, and summative evaluation compare intentions with
      accomplishments, enabling the transformation of a neophyte physician to one with
      growing expertise.

    V.A.1.a)                      Faculty members must directly observe, evaluate, and
                                  frequently provide feedback on resident performance during
                                  each rotation or similar educational assignment. (Core)

      Background and Intent: Faculty members should provide feedback frequently
      throughout the course of each rotation. Residents require feedback from faculty
      members to reinforce well-performed duties and tasks, as well as to correct
      deficiencies. This feedback will allow for the development of the learner as they strive
      to achieve the Milestones. More frequent feedback is strongly encouraged for
      residents who have deficiencies that may result in a poor final rotation evaluation.

    V.A.1.b)                      Evaluation must be documented at the completion of the
                                  assignment. (Core)

    V.A.1.b).(1)                         For block rotations of greater than three months in
                                         duration, evaluation must be documented at least
                                         every three months. (Core)

    V.A.1.b).(2)                         Longitudinal experiences, such as continuity clinic in
                                         the context of other clinical responsibilities, must be
                                         evaluated at least every three months and at
                                         completion. (Core)

    V.A.1.c)                      The program must provide an objective performance
                                  evaluation based on the Competencies and the specialty-
                                  specific Milestones, and must: (Core)




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    V.A.1.c).(1)                         use multiple evaluators (e.g., faculty members, peers,
                                         patients, self, and other professional staff members);
                                         and, (Core)

    V.A.1.c).(2)                         provide that information to the Clinical Competency
                                         Committee for its synthesis of progressive resident
                                         performance and improvement toward unsupervised
                                         practice. (Core)

    V.A.1.d)                      The program director or their designee, with input from the
                                  Clinical Competency Committee, must:

    V.A.1.d).(1)                         meet with and review with each resident their
                                         documented semi-annual evaluation of performance,
                                         including progress along the specialty-specific
                                         Milestones; (Core)

    V.A.1.d).(2)                         assist residents in developing individualized learning
                                         plans to capitalize on their strengths and identify areas
                                         for growth; and, (Core)

    V.A.1.d).(3)                         develop plans for residents failing to progress,
                                         following institutional policies and procedures. (Core)

      Background and Intent: Learning is an active process that requires effort from the
      teacher and the learner. Faculty members evaluate a resident's performance at least
      at the end of each rotation. The program director or their designee will review those
      evaluations, including their progress on the Milestones, at a minimum of every six
      months. Residents should be encouraged to reflect upon the evaluation, using the
      information to reinforce well-performed tasks or knowledge or to modify deficiencies
      in knowledge or practice. Working together with the faculty members, residents
      should develop an individualized learning plan.

      Residents who are experiencing difficulties with achieving progress along the
      Milestones may require intervention to address specific deficiencies. Such
      intervention, documented in an individual remediation plan developed by the program
      director or a faculty mentor and the resident, will take a variety of forms based on the
      specific learning needs of the resident. However, the ACGME recognizes that there
      are situations which require more significant intervention that may alter the time
      course of resident progression. To ensure due process, it is essential that the
      program director follow institutional policies and procedures.

    V.A.1.e)                      At least annually, there must be a summative evaluation of
                                  each resident that includes their readiness to progress to the
                                  next year of the program, if applicable. (Core)

    V.A.1.f)                      The evaluations of a resident’s performance must be
                                  accessible for review by the resident. (Core)

                          [The Review Committee may further specify under any requirement
                          in V.A.1.-V.A.1.f)]



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    V.A.2.                Final Evaluation

    V.A.2.a)                      The program director must provide a final evaluation for each
                                  resident upon completion of the program. (Core)

    V.A.2.a).(1)                         The specialty-specific Milestones, and when applicable
                                         the specialty-specific Case Logs, must be used as
                                         tools to ensure residents are able to engage in
                                         autonomous practice upon completion of the program.
                                         (Core)



    V.A.2.a).(2)                         The final evaluation must:

    V.A.2.a).(2).(a)                              become part of the resident’s permanent record
                                                  maintained by the institution, and must be
                                                  accessible for review by the resident in
                                                  accordance with institutional policy; (Core)

    V.A.2.a).(2).(b)                              verify that the resident has demonstrated the
                                                  knowledge, skills, and behaviors necessary to
                                                  enter autonomous practice; (Core)

    V.A.2.a).(2).(c)                              consider recommendations from the Clinical
                                                  Competency Committee; and, (Core)

    V.A.2.a).(2).(d)                              be shared with the resident upon completion of
                                                  the program. (Core)

    V.A.3.                A Clinical Competency Committee must be appointed by the
                          program director. (Core)

    V.A.3.a)                      At a minimum, the Clinical Competency Committee must
                                  include three members of the program faculty, at least one of
                                  whom is a core faculty member. (Core)

    V.A.3.a).(1)                         Additional members must be faculty members from
                                         the same program or other programs, or other health
                                         professionals who have extensive contact and
                                         experience with the program’s residents. (Core)

      Background and Intent: The requirements regarding the Clinical Competency
      Committee do not preclude or limit a program director’s participation on the Clinical
      Competency Committee. The intent is to leave flexibility for each program to decide
      the best structure for its own circumstances, but a program should consider: its
      program director’s other roles as resident advocate, advisor, and confidante; the
      impact of the program director’s presence on the other Clinical Competency
      Committee members’ discussions and decisions; the size of the program faculty; and
      other program-relevant factors. The program director has final responsibility for
      resident evaluation and promotion decisions.




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      Program faculty may include more than the physician faculty members, such as other
      physicians and non-physicians who teach and evaluate the program’s residents.
      There may be additional members of the Clinical Competency Committee. Chief
      residents who have completed core residency programs in their specialty may be
      members of the Clinical Competency Committee.

    V.A.3.b)                      The Clinical Competency Committee must:

    V.A.3.b).(1)                         review all resident evaluations at least semi-annually;
                                         (Core)



    V.A.3.b).(2)                         determine each resident’s progress on achievement of
                                         the specialty-specific Milestones; and, (Core)

    V.A.3.b).(3)                         meet prior to the residents’ semi-annual evaluations
                                         and advise the program director regarding each
                                         resident’s progress. (Core)

    V.B.           Faculty Evaluation

    V.B.1.                The program must have a process to evaluate each faculty
                          member’s performance as it relates to the educational program at
                          least annually. (Core)

     Background and Intent: The program director is responsible for the education program
     and for whom delivers it. While the term “faculty” may be applied to physicians within
     a given institution for other reasons, it is applied to residency program faculty
     members only through approval by a program director. The development of the faculty
     improves the education, clinical, and research aspects of a program. Faculty members
     have a strong commitment to the resident and desire to provide optimal education and
     work opportunities. Faculty members must be provided feedback on their contribution
     to the mission of the program. All faculty members who interact with residents desire
     feedback on their education, clinical care, and research. If a faculty member does not
     interact with residents, feedback is not required. With regard to the diverse operating
     environments and configurations, the residency program director may need to work
     with others to determine the effectiveness of the program’s faculty performance with
     regard to their role in the educational program. All teaching faculty members should
     have their educational efforts evaluated by the residents in a confidential and
     anonymous manner. Other aspects for the feedback may include research or clinical
     productivity, review of patient outcomes, or peer review of scholarly activity. The
     process should reflect the local environment and identify the necessary information.
     The feedback from the various sources should be summarized and provided to the
     faculty on an annual basis by a member of the leadership team of the program.

    V.B.1.a)                      This evaluation must include a review of the faculty member’s
                                  clinical teaching abilities, engagement with the educational
                                  program, participation in faculty development related to their
                                  skills as an educator, clinical performance, professionalism,
                                  and scholarly activities. (Core)




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    V.B.1.b)                      This evaluation must include written, anonymous, and
                                  confidential evaluations by the residents. (Core)

    V.B.2.                Faculty members must receive feedback on their evaluations at least
                          annually. (Core)

    V.B.3.                Results of the faculty educational evaluations should be
                          incorporated into program-wide faculty development plans. (Core)

     Background and Intent: The quality of the faculty’s teaching and clinical care is a
     determinant of the quality of the program and the quality of the residents’ future
     clinical care. Therefore, the program has the responsibility to evaluate and improve the
     program faculty members’ teaching, scholarship, professionalism, and quality care.
     This section mandates annual review of the program’s faculty members for this
     purpose, and can be used as input into the Annual Program Evaluation.

    V.C.           Program Evaluation and Improvement

    V.C.1.                The program director must appoint the Program Evaluation
                          Committee to conduct and document the Annual Program
                          Evaluation as part of the program’s continuous improvement
                          process. (Core)

    V.C.1.a)                      The Program Evaluation Committee must be composed of at
                                  least two program faculty members, at least one of whom is a
                                  core faculty member, and at least one resident. (Core)

    V.C.1.b)                      Program Evaluation Committee responsibilities must include:

    V.C.1.b).(1)                         acting as an advisor to the program director, through
                                         program oversight; (Core)

    V.C.1.b).(2)                         review of the program’s self-determined goals and
                                         progress toward meeting them; (Core)

    V.C.1.b).(3)                         guiding ongoing program improvement, including
                                         development of new goals, based upon outcomes;
                                         and, (Core)

    V.C.1.b).(4)                         review of the current operating environment to identify
                                         strengths, challenges, opportunities, and threats as
                                         related to the program’s mission and aims. (Core)

      Background and Intent: In order to achieve its mission and train quality physicians, a
      program must evaluate its performance and plan for improvement in the Annual
      Program Evaluation. Performance of residents and faculty members is a reflection of
      program quality, and can use metrics that reflect the goals that a program has set for
      itself. The Program Evaluation Committee utilizes outcome parameters and other data
      to assess the program’s progress toward achievement of its goals and aims.




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    V.C.1.c)                      The Program Evaluation Committee should consider the
                                  following elements in its assessment of the program:

    V.C.1.c).(1)                         curriculum; (Core)

    V.C.1.c).(2)                         outcomes from prior Annual Program Evaluation(s);
                                         (Core)



    V.C.1.c).(3)                         ACGME letters of notification, including citations,
                                         Areas for Improvement, and comments; (Core)

    V.C.1.c).(4)                         quality and safety of patient care; (Core)

    V.C.1.c).(5)                         aggregate resident and faculty:

    V.C.1.c).(5).(a)                              well-being; (Core)

    V.C.1.c).(5).(b)                              recruitment and retention; (Core)

    V.C.1.c).(5).(c)                              workforce diversity; (Core)

    V.C.1.c).(5).(d)                              engagement in quality improvement and patient
                                                  safety; (Core)

    V.C.1.c).(5).(e)                              scholarly activity; (Core)

    V.C.1.c).(5).(f)                              ACGME Resident and Faculty Surveys; and,
                                                  (Core)



    V.C.1.c).(5).(g)                              written evaluations of the program. (Core)

    V.C.1.c).(6)                         aggregate resident:

    V.C.1.c).(6).(a)                              achievement of the Milestones; (Core)

    V.C.1.c).(6).(b)                              in-training examinations (where applicable);
                                                  (Core)



    V.C.1.c).(6).(c)                              board pass and certification rates; and, (Core)

    V.C.1.c).(6).(d)                              graduate performance. (Core)

    V.C.1.c).(7)                         aggregate faculty:

    V.C.1.c).(7).(a)                              evaluation; and, (Core)

    V.C.1.c).(7).(b)                              professional development. (Core)

    V.C.1.d)                      The Program Evaluation Committee must evaluate the
                                  program’s mission and aims, strengths, areas for
                                  improvement, and threats. (Core)



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    V.C.1.e)                      The annual review, including the action plan, must:

    V.C.1.e).(1)                              be distributed to and discussed with the members of
                                              the teaching faculty and the residents; and, (Core)

    V.C.1.e).(2)                              be submitted to the DIO. (Core)

    V.C.2.                The program must complete a Self-Study prior to its 10-Year
                          Accreditation Site Visit. (Core)

    V.C.2.a)                      A summary of the Self-Study must be submitted to the DIO.
                                  (Core)



     Background and Intent: Outcomes of the documented Annual Program Evaluation can
     be integrated into the 10-year Self-Study process. The Self-Study is an objective,
     comprehensive evaluation of the residency program, with the aim of improving it.
     Underlying the Self-Study is this longitudinal evaluation of the program and its
     learning environment, facilitated through sequential Annual Program Evaluations that
     focus on the required components, with an emphasis on program strengths and self-
     identified areas for improvement. Details regarding the timing and expectations for the
     Self-Study and the 10-Year Accreditation Site Visit are provided in the ACGME Manual
     of Policies and Procedures. Additionally, a description of the Self-Study process, as
     well as information on how to prepare for the 10-Year Accreditation Site Visit, is
     available on the ACGME website.

    V.C.3.                One goal of ACGME-accredited education is to educate physicians
                          who seek and achieve board certification. One measure of the
                          effectiveness of the educational program is the ultimate pass rate.

                          The program director should encourage all eligible program
                          graduates to take the certifying examination offered by the
                          applicable American Board of Medical Specialties (ABMS) member
                          board or American Osteopathic Association (AOA) certifying board.

    V.C.3.a)                      For specialties in which the ABMS member board and/or AOA
                                  certifying board offer(s) an annual written exam, in the
                                  preceding three years, the program’s aggregate pass rate of
                                  those taking the examination for the first time must be higher
                                  than the bottom fifth percentile of programs in that specialty.
                                  (Outcome)



    V.C.3.b)                      For specialties in which the ABMS member board and/or AOA
                                  certifying board offer(s) a biennial written exam, in the
                                  preceding six years, the program’s aggregate pass rate of
                                  those taking the examination for the first time must be higher
                                  than the bottom fifth percentile of programs in that specialty.
                                  (Outcome)



    V.C.3.c)                      For specialties in which the ABMS member board and/or AOA
                                  certifying board offer(s) an annual oral exam, in the preceding



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                                  three years, the program’s aggregate pass rate of those
                                  taking the examination for the first time must be higher than
                                  the bottom fifth percentile of programs in that specialty.
                                  (Outcome)



    V.C.3.d)                      For specialties in which the ABMS member board and/or AOA
                                  certifying board offer(s) a biennial oral exam, in the preceding
                                  six years, the program’s aggregate pass rate of those taking
                                  the examination for the first time must be higher than the
                                  bottom fifth percentile of programs in that specialty. (Outcome)

    V.C.3.e)                      For each of the exams referenced in V.C.3.a)-d), any program
                                  whose graduates over the time period specified in the
                                  requirement have achieved an 80 percent pass rate will have
                                  met this requirement, no matter the percentile rank of the
                                  program for pass rate in that specialty. (Outcome)

     Background and Intent: Setting a single standard for pass rate that works across
     specialties is not supportable based on the heterogeneity of the psychometrics of
     different examinations. By using a percentile rank, the performance of the lower five
     percent (fifth percentile) of programs can be identified and set on a path to curricular
     and test preparation reform.

     There are specialties where there is a very high board pass rate that could leave
     successful programs in the bottom five percent (fifth percentile) despite admirable
     performance. These high-performing programs should not be cited, and V.C.3.e) is
     designed to address this.

    V.C.3.f)                      Programs must report, in ADS, board certification status
                                  annually for the cohort of board-eligible residents that
                                  graduated seven years earlier. (Core)

     Background and Intent: It is essential that residency programs demonstrate knowledge
     and skill transfer to their residents. One measure of that is the qualifying or initial
     certification exam pass rate. Another important parameter of the success of the
     program is the ultimate board certification rate of its graduates. Graduates are eligible
     for up to seven years from residency graduation for initial certification. The ACGME
     will calculate a rolling three-year average of the ultimate board certification rate at
     seven years post-graduation, and the Review Committees will monitor it.

     The Review Committees will track the rolling seven-year certification rate as an
     indicator of program quality. Programs are encouraged to monitor their graduates’
     performance on board certification examinations.

     In the future, the ACGME may establish parameters related to ultimate board
     certification rates.

    VI.    The Learning and Working Environment

           Residency education must occur in the context of a learning and working
           environment that emphasizes the following principles:



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              •   Excellence in the safety and quality of care rendered to patients by residents
                  today

              •   Excellence in the safety and quality of care rendered to patients by today’s
                  residents in their future practice

              •   Excellence in professionalism through faculty modeling of:

                  o   the effacement of self-interest in a humanistic environment that supports
                      the professional development of physicians

                  o   the joy of curiosity, problem-solving, intellectual rigor, and discovery

              •   Commitment to the well-being of the students, residents, faculty members, and
                  all members of the health care team

    Background and Intent: The revised requirements are intended to provide greater
    flexibility within an established framework, allowing programs and residents more
    discretion to structure clinical education in a way that best supports the above
    principles of professional development. With this increased flexibility comes the
    responsibility for programs and residents to adhere to the 80-hour maximum weekly
    limit (unless a rotation-specific exception is granted by a Review Committee), and to
    utilize flexibility in a manner that optimizes patient safety, resident education, and
    resident well-being. The requirements are intended to support the development of a
    sense of professionalism by encouraging residents to make decisions based on patient
    needs and their own well-being, without fear of jeopardizing their program’s
    accreditation status. In addition, the proposed requirements eliminate the burdensome
    documentation requirement for residents to justify clinical and educational work hour
    variations.

    Clinical and educational work hours represent only one part of the larger issue of
    conditions of the learning and working environment, and Section VI has now been
    expanded to include greater attention to patient safety and resident and faculty member
    well-being. The requirements are intended to support programs and residents as they
    strive for excellence, while also ensuring ethical, humanistic training. Ensuring that
    flexibility is used in an appropriate manner is a shared responsibility of the program and
    residents. With this flexibility comes a responsibility for residents and faculty members
    to recognize the need to hand off care of a patient to another provider when a resident is
    too fatigued to provide safe, high quality care and for programs to ensure that residents
    remain within the 80-hour maximum weekly limit.

    VI.A.             Patient Safety, Quality Improvement, Supervision, and Accountability

    VI.A.1.                  Patient Safety and Quality Improvement

                             All physicians share responsibility for promoting patient safety and
                             enhancing quality of patient care. Graduate medical education must
                             prepare residents to provide the highest level of clinical care with
                             continuous focus on the safety, individual needs, and humanity of




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                          their patients. It is the right of each patient to be cared for by
                          residents who are appropriately supervised; possess the requisite
                          knowledge, skills, and abilities; understand the limits of their
                          knowledge and experience; and seek assistance as required to
                          provide optimal patient care.

                          Residents must demonstrate the ability to analyze the care they
                          provide, understand their roles within health care teams, and play an
                          active role in system improvement processes. Graduating residents
                          will apply these skills to critique their future unsupervised practice
                          and effect quality improvement measures.

                          It is necessary for residents and faculty members to consistently
                          work in a well-coordinated manner with other health care
                          professionals to achieve organizational patient safety goals.

    VI.A.1.a)                     Patient Safety

    VI.A.1.a).(1)                        Culture of Safety

                                         A culture of safety requires continuous identification
                                         of vulnerabilities and a willingness to transparently
                                         deal with them. An effective organization has formal
                                         mechanisms to assess the knowledge, skills, and
                                         attitudes of its personnel toward safety in order to
                                         identify areas for improvement.

    VI.A.1.a).(1).(a)                            The program, its faculty, residents, and fellows
                                                 must actively participate in patient safety
                                                 systems and contribute to a culture of safety.
                                                 (Core)



    VI.A.1.a).(1).(b)                            The program must have a structure that
                                                 promotes safe, interprofessional, team-based
                                                 care. (Core)

    VI.A.1.a).(2)                        Education on Patient Safety

                                         Programs must provide formal educational activities
                                         that promote patient safety-related goals, tools, and
                                         techniques. (Core)

    Background and Intent: Optimal patient safety occurs in the setting of a coordinated
    interprofessional learning and working environment.

                                         [The Review Committee may further specify]

    VI.A.1.a).(3)                        Patient Safety Events

                                         Reporting, investigation, and follow-up of adverse
                                         events, near misses, and unsafe conditions are pivotal



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                                         mechanisms for improving patient safety, and are
                                         essential for the success of any patient safety
                                         program. Feedback and experiential learning are
                                         essential to developing true competence in the ability
                                         to identify causes and institute sustainable systems-
                                         based changes to ameliorate patient safety
                                         vulnerabilities.

    VI.A.1.a).(3).(a)                            Residents, fellows, faculty members, and other
                                                 clinical staff members must:

    VI.A.1.a).(3).(a).(i)                               know their responsibilities in reporting
                                                        patient safety events at the clinical site;
                                                        (Core)



    VI.A.1.a).(3).(a).(ii)                              know how to report patient safety
                                                        events, including near misses, at the
                                                        clinical site; and, (Core)

    VI.A.1.a).(3).(a).(iii)                             be provided with summary information
                                                        of their institution’s patient safety
                                                        reports. (Core)

    VI.A.1.a).(3).(b)                            Residents must participate as team members in
                                                 real and/or simulated interprofessional clinical
                                                 patient safety activities, such as root cause
                                                 analyses or other activities that include
                                                 analysis, as well as formulation and
                                                 implementation of actions. (Core)

    VI.A.1.a).(4)                        Resident Education and Experience in Disclosure of
                                         Adverse Events

                                         Patient-centered care requires patients, and when
                                         appropriate families, to be apprised of clinical
                                         situations that affect them, including adverse events.
                                         This is an important skill for faculty physicians to
                                         model, and for residents to develop and apply.

    VI.A.1.a).(4).(a)                            All residents must receive training in how to
                                                 disclose adverse events to patients and
                                                 families. (Core)

    VI.A.1.a).(4).(b)                            Residents should have the opportunity to
                                                 participate in the disclosure of patient safety
                                                 events, real or simulated. (Detail)†

    VI.A.1.b)                     Quality Improvement

    VI.A.1.b).(1)                        Education in Quality Improvement




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                                         A cohesive model of health care includes quality-
                                         related goals, tools, and techniques that are necessary
                                         in order for health care professionals to achieve
                                         quality improvement goals.

    VI.A.1.b).(1).(a)                            Residents must receive training and experience
                                                 in quality improvement processes, including an
                                                 understanding of health care disparities. (Core)

    VI.A.1.b).(2)                        Quality Metrics

                                         Access to data is essential to prioritizing activities for
                                         care improvement and evaluating success of
                                         improvement efforts.

    VI.A.1.b).(2).(a)                            Residents and faculty members must receive
                                                 data on quality metrics and benchmarks related
                                                 to their patient populations. (Core)

    VI.A.1.b).(3)                        Engagement in Quality Improvement Activities

                                         Experiential learning is essential to developing the
                                         ability to identify and institute sustainable systems-
                                         based changes to improve patient care.

    VI.A.1.b).(3).(a)                            Residents must have the opportunity to
                                                 participate in interprofessional quality
                                                 improvement activities. (Core)

    VI.A.1.b).(3).(a).(i)                               This should include activities aimed at
                                                        reducing health care disparities. (Detail)

                                  [The Review Committee may further specify under any
                                  requirement in VI.A.1.b)-VI.A.1.b).(3).(a).(i)]

    VI.A.2.                 Supervision and Accountability

    VI.A.2.a)                     Although the attending physician is ultimately responsible for
                                  the care of the patient, every physician shares in the
                                  responsibility and accountability for their efforts in the
                                  provision of care. Effective programs, in partnership with
                                  their Sponsoring Institutions, define, widely communicate,
                                  and monitor a structured chain of responsibility and
                                  accountability as it relates to the supervision of all patient
                                  care.

                                  Supervision in the setting of graduate medical education
                                  provides safe and effective care to patients; ensures each
                                  resident’s development of the skills, knowledge, and attitudes
                                  required to enter the unsupervised practice of medicine; and
                                  establishes a foundation for continued professional growth.



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    VI.A.2.a).(1)                        Each patient must have an identifiable and
                                         appropriately-credentialed and privileged attending
                                         physician (or licensed independent practitioner as
                                         specified by the applicable Review Committee) who is
                                         responsible and accountable for the patient’s care.
                                         (Core)



    VI.A.2.a).(1).(a)                             This information must be available to residents,
                                                  faculty members, other members of the health
                                                  care team, and patients. (Core)

    VI.A.2.a).(1).(b)                             Residents and faculty members must inform
                                                  each patient of their respective roles in that
                                                  patient’s care when providing direct patient
                                                  care. (Core)

    VI.A.2.b)                     Supervision may be exercised through a variety of methods.
                                  For many aspects of patient care, the supervising physician
                                  may be a more advanced resident or fellow. Other portions of
                                  care provided by the resident can be adequately supervised
                                  by the appropriate availability of the supervising faculty
                                  member, fellow, or senior resident physician, either on site or
                                  by means of telecommunication technology. Some activities
                                  require the physical presence of the supervising faculty
                                  member. In some circumstances, supervision may include
                                  post-hoc review of resident-delivered care with feedback.

     Background and Intent: Appropriate supervision is essential for patient safety and
     high-quality teaching. Supervision is also contextual. There is tremendous diversity of
     resident patient interactions, education and training locations, and resident skills and
     abilities even at the same level of the educational program. The degree of supervision
     is expected to evolve progressively as a resident gains more experience, even with the
     same patient condition or procedure. All residents have a level of supervision
     commensurate with their level of autonomy in practice; this level of supervision may
     be enhanced based on factors such as patient safety, complexity, acuity, urgency, risk
     of serious adverse events, or other pertinent variables.

    VI.A.2.b).(1)                        The program must demonstrate that the appropriate
                                         level of supervision in place for all residents is based
                                         on each resident’s level of training and ability, as well
                                         as patient complexity and acuity. Supervision may be
                                         exercised through a variety of methods, as appropriate
                                         to the situation. (Core)

                                                  [The Review Committee may specify which
                                                  activities require different levels of
                                                  supervision.]

    VI.A.2.b).(2)                        The program must define when physical presence of a
                                         supervising physician is required. (Core)



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    VI.A.2.c)                     Levels of Supervision

                                  To promote appropriate resident supervision while providing
                                  for graded authority and responsibility, the program must use
                                  the following classification of supervision: (Core)

    VI.A.2.c).(1)                        Direct Supervision:

    VI.A.2.c).(1).(a)                            the supervising physician is physically present
                                                 with the resident during the key portions of the
                                                 patient interaction; or, (Core)

                                                        [The Review Committee may further
                                                        specify]

    VI.A.2.c).(1).(a).(i)                               PGY-1 residents must initially be
                                                        supervised directly, only as described in
                                                        VI.A.2.c).(1).(a). (Core)

                                                        [The Review Committee may describe
                                                        the conditions under which PGY-1
                                                        residents progress to be supervised
                                                        indirectly]

    VI.A.2.c).(1).(b)                            the supervising physician and/or patient is not
                                                 physically present with the resident and the
                                                 supervising physician is concurrently
                                                 monitoring the patient care through appropriate
                                                 telecommunication technology. (Core)

                                                        [The Review Committee may further
                                                        specify]

                                                 [The RC may choose not to permit
                                                 VI.A.2.c).(1).(b)]

    VI.A.2.c).(2)                        Indirect Supervision: the supervising physician is not
                                         providing physical or concurrent visual or audio
                                         supervision but is immediately available to the
                                         resident for guidance and is available to provide
                                         appropriate direct supervision. (Core)

    VI.A.2.c).(3)                        Oversight – the supervising physician is available to
                                         provide review of procedures/encounters with
                                         feedback provided after care is delivered. (Core)

    VI.A.2.d)                     The privilege of progressive authority and responsibility,
                                  conditional independence, and a supervisory role in patient
                                  care delegated to each resident must be assigned by the
                                  program director and faculty members. (Core)



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    VI.A.2.d).(1)                        The program director must evaluate each resident’s
                                         abilities based on specific criteria, guided by the
                                         Milestones. (Core)

    VI.A.2.d).(2)                        Faculty members functioning as supervising
                                         physicians must delegate portions of care to residents
                                         based on the needs of the patient and the skills of
                                         each resident. (Core)

    VI.A.2.d).(3)                        Senior residents or fellows should serve in a
                                         supervisory role to junior residents in recognition of
                                         their progress toward independence, based on the
                                         needs of each patient and the skills of the individual
                                         resident or fellow. (Detail)

    VI.A.2.e)                     Programs must set guidelines for circumstances and events
                                  in which residents must communicate with the supervising
                                  faculty member(s). (Core)

    VI.A.2.e).(1)                        Each resident must know the limits of their scope of
                                         authority, and the circumstances under which the
                                         resident is permitted to act with conditional
                                         independence. (Outcome)

    Background and Intent: The ACGME Glossary of Terms defines conditional
    independence as: Graded, progressive responsibility for patient care with defined
    oversight.

    VI.A.2.f)                     Faculty supervision assignments must be of sufficient
                                  duration to assess the knowledge and skills of each resident
                                  and to delegate to the resident the appropriate level of patient
                                  care authority and responsibility. (Core)

    VI.B.           Professionalism

    VI.B.1.               Programs, in partnership with their Sponsoring Institutions, must
                          educate residents and faculty members concerning the professional
                          responsibilities of physicians, including their obligation to be
                          appropriately rested and fit to provide the care required by their
                          patients. (Core)

    VI.B.2.               The learning objectives of the program must:

    VI.B.2.a)                     be accomplished through an appropriate blend of supervised
                                  patient care responsibilities, clinical teaching, and didactic
                                  educational events; (Core)

    VI.B.2.b)                     be accomplished without excessive reliance on residents to
                                  fulfill non-physician obligations; and, (Core)




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    Background and Intent: Routine reliance on residents to fulfill non-physician obligations
    increases work compression for residents and does not provide an optimal educational
    experience. Non-physician obligations are those duties which in most institutions are
    performed by nursing and allied health professionals, transport services, or clerical
    staff. Examples of such obligations include transport of patients from the wards or units
    for procedures elsewhere in the hospital; routine blood drawing for laboratory tests;
    routine monitoring of patients when off the ward; and clerical duties, such as
    scheduling. While it is understood that residents may be expected to do any of these
    things on occasion when the need arises, these activities should not be performed by
    residents routinely and must be kept to a minimum to optimize resident education.

    VI.B.2.c)                     ensure manageable patient care responsibilities. (Core)

                                  [The Review Committee may further specify]

    Background and Intent: The Common Program Requirements do not define
    “manageable patient care responsibilities” as this is variable by specialty and PGY
    level. Review Committees will provide further detail regarding patient care
    responsibilities in the applicable specialty-specific Program Requirements and
    accompanying FAQs. However, all programs, regardless of specialty, should carefully
    assess how the assignment of patient care responsibilities can affect work
    compression, especially at the PGY-1 level.

    VI.B.3.               The program director, in partnership with the Sponsoring Institution,
                          must provide a culture of professionalism that supports patient
                          safety and personal responsibility. (Core)

    VI.B.4.               Residents and faculty members must demonstrate an understanding
                          of their personal role in the:

    VI.B.4.a)                     provision of patient- and family-centered care; (Outcome)

    VI.B.4.b)                     safety and welfare of patients entrusted to their care,
                                  including the ability to report unsafe conditions and adverse
                                  events; (Outcome)

    Background and Intent: This requirement emphasizes that responsibility for reporting
    unsafe conditions and adverse events is shared by all members of the team and is not
    solely the responsibility of the resident.

    VI.B.4.c)                     assurance of their fitness for work, including: (Outcome)

    Background and Intent: This requirement emphasizes the professional responsibility of
    faculty members and residents to arrive for work adequately rested and ready to care
    for patients. It is also the responsibility of faculty members, residents, and other
    members of the care team to be observant, to intervene, and/or to escalate their concern
    about resident and faculty member fitness for work, depending on the situation, and in
    accordance with institutional policies.




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    VI.B.4.c).(1)                        management of their time before, during, and after
                                         clinical assignments; and, (Outcome)

    VI.B.4.c).(2)                        recognition of impairment, including from illness,
                                         fatigue, and substance use, in themselves, their peers,
                                         and other members of the health care team. (Outcome)

    VI.B.4.d)                     commitment to lifelong learning; (Outcome)

    VI.B.4.e)                     monitoring of their patient care performance improvement
                                  indicators; and, (Outcome)

    VI.B.4.f)                     accurate reporting of clinical and educational work hours,
                                  patient outcomes, and clinical experience data. (Outcome)

    VI.B.5.                All residents and faculty members must demonstrate
                           responsiveness to patient needs that supersedes self-interest. This
                           includes the recognition that under certain circumstances, the best
                           interests of the patient may be served by transitioning that patient’s
                           care to another qualified and rested provider. (Outcome)

    VI.B.6.                Programs, in partnership with their Sponsoring Institutions, must
                           provide a professional, equitable, respectful, and civil environment
                           that is free from discrimination, sexual and other forms of
                           harassment, mistreatment, abuse, or coercion of students,
                           residents, faculty, and staff. (Core)

    VI.B.7.                Programs, in partnership with their Sponsoring Institutions, should
                           have a process for education of residents and faculty regarding
                           unprofessional behavior and a confidential process for reporting,
                           investigating, and addressing such concerns. (Core)

    VI.C.           Well-Being

                    Psychological, emotional, and physical well-being are critical in the
                    development of the competent, caring, and resilient physician and require
                    proactive attention to life inside and outside of medicine. Well-being
                    requires that physicians retain the joy in medicine while managing their
                    own real-life stresses. Self-care and responsibility to support other
                    members of the health care team are important components of
                    professionalism; they are also skills that must be modeled, learned, and
                    nurtured in the context of other aspects of residency training.

                    Residents and faculty members are at risk for burnout and depression.
                    Programs, in partnership with their Sponsoring Institutions, have the same
                    responsibility to address well-being as other aspects of resident
                    competence. Physicians and all members of the health care team share
                    responsibility for the well-being of each other. For example, a culture which
                    encourages covering for colleagues after an illness without the expectation
                    of reciprocity reflects the ideal of professionalism. A positive culture in a
                    clinical learning environment models constructive behaviors, and prepares



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                   residents with the skills and attitudes needed to thrive throughout their
                   careers.

    Background and Intent: The ACGME is committed to addressing physician well-being
    for individuals and as it relates to the learning and working environment. The creation of
    a learning and working environment with a culture of respect and accountability for
    physician well-being is crucial to physicians’ ability to deliver the safest, best possible
    care to patients. The ACGME is leveraging its resources in four key areas to support the
    ongoing focus on physician well-being: education, influence, research, and
    collaboration. Information regarding the ACGME’s ongoing efforts in this area is
    available on the ACGME website: www.acgme.org/physicianwellbeing.

    The ACGME also created a repository for well-being materials, assessments,
    presentations, and more on the Well-Being Tools and Resources page in Learn at
    ACGME for programs seeking to develop or strengthen their own well-being initiatives.
    There are many activities that programs can implement now to assess and support
    physician well-being. These include the distribution and analysis of culture of safety
    surveys, ensuring the availability of counseling services, and paying attention to the
    safety of the entire health care team.

    VI.C.1.               The responsibility of the program, in partnership with the
                          Sponsoring Institution, to address well-being must include:

    VI.C.1.a)                     efforts to enhance the meaning that each resident finds in the
                                  experience of being a physician, including protecting time
                                  with patients, minimizing non-physician obligations,
                                  providing administrative support, promoting progressive
                                  autonomy and flexibility, and enhancing professional
                                  relationships; (Core)

    VI.C.1.b)                     attention to scheduling, work intensity, and work
                                  compression that impacts resident well-being; (Core)

    VI.C.1.c)                     evaluating workplace safety data and addressing the safety of
                                  residents and faculty members; (Core)

    Background and Intent: This requirement emphasizes the responsibility shared by the
    Sponsoring Institution and its programs to gather information and utilize systems that
    monitor and enhance resident and faculty member safety, including physical safety.
    Issues to be addressed include, but are not limited to, monitoring of workplace injuries,
    physical or emotional violence, vehicle collisions, and emotional well-being after
    adverse events.

    VI.C.1.d)                     policies and programs that encourage optimal resident and
                                  faculty member well-being; and, (Core)

    Background and Intent: Well-being includes having time away from work to engage with
    family and friends, as well as to attend to personal needs and to one’s own health,
    including adequate rest, healthy diet, and regular exercise.




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    VI.C.1.d).(1)                        Residents must be given the opportunity to attend
                                         medical, mental health, and dental care appointments,
                                         including those scheduled during their working hours.
                                         (Core)



    Background and Intent: The intent of this requirement is to ensure that residents have
    the opportunity to access medical and dental care, including mental health care, at
    times that are appropriate to their individual circumstances. Residents must be
    provided with time away from the program as needed to access care, including
    appointments scheduled during their working hours.

    VI.C.1.e)                     attention to resident and faculty member burnout,
                                  depression, and substance use disorders. The program, in
                                  partnership with its Sponsoring Institution, must educate
                                  faculty members and residents in identification of the
                                  symptoms of burnout, depression, and substance use
                                  disorders, including means to assist those who experience
                                  these conditions. Residents and faculty members must also
                                  be educated to recognize those symptoms in themselves and
                                  how to seek appropriate care. The program, in partnership
                                  with its Sponsoring Institution, must: (Core)

    Background and Intent: Programs and Sponsoring Institutions are encouraged to review
    materials to create systems for identification of burnout, depression, and substance use
    disorders. Materials and more information are available in Learn at ACGME
    (https://dl.acgme.org/pages/well-being-tools-resources).

    VI.C.1.e).(1)                        encourage residents and faculty members to alert the
                                         program director or other designated personnel or
                                         programs when they are concerned that another
                                         resident, fellow, or faculty member may be displaying
                                         signs of burnout, depression, a substance use
                                         disorder, suicidal ideation, or potential for violence;
                                         (Core)



    Background and Intent: Individuals experiencing burnout, depression, a substance use
    disorder, and/or suicidal ideation are often reluctant to reach out for help due to the
    stigma associated with these conditions, and are concerned that seeking help may have
    a negative impact on their career. Recognizing that physicians are at increased risk in
    these areas, it is essential that residents and faculty members are able to report their
    concerns when another resident or faculty member displays signs of any of these
    conditions, so that the program director or other designated personnel, such as the
    department chair, may assess the situation and intervene as necessary to facilitate
    access to appropriate care. Residents and faculty members must know which
    personnel, in addition to the program director, have been designated with this
    responsibility; those personnel and the program director should be familiar with the
    institution’s impaired physician policy and any employee health, employee assistance,
    and/or wellness programs within the institution. In cases of physician impairment, the
    program director or designated personnel should follow the policies of their institution
    for reporting.




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    VI.C.1.e).(2)                        provide access to appropriate tools for self-screening;
                                         and, (Core)

    VI.C.1.e).(3)                        provide access to confidential, affordable mental
                                         health assessment, counseling, and treatment,
                                         including access to urgent and emergent care 24
                                         hours a day, seven days a week. (Core)

    Background and Intent: The intent of this requirement is to ensure that residents have
    immediate access at all times to a mental health professional (psychiatrist,
    psychologist, Licensed Clinical Social Worker, Primary Mental Health Nurse
    Practitioner, or Licensed Professional Counselor) for urgent or emergent mental health
    issues. In-person, telemedicine, or telephonic means may be utilized to satisfy this
    requirement. Care in the Emergency Department may be necessary in some cases, but
    not as the primary or sole means to meet the requirement.

    The reference to affordable counseling is intended to require that financial cost not be a
    barrier to obtaining care.

    VI.C.2.               There are circumstances in which residents may be unable to attend
                          work, including but not limited to fatigue, illness, family
                          emergencies, and parental leave. Each program must allow an
                          appropriate length of absence for residents unable to perform their
                          patient care responsibilities. (Core)

    VI.C.2.a)                     The program must have policies and procedures in place to
                                  ensure coverage of patient care. (Core)

    VI.C.2.b)                     These policies must be implemented without fear of negative
                                  consequences for the resident who is or was unable to
                                  provide the clinical work. (Core)

     Background and Intent: Residents may need to extend their length of training
     depending on length of absence and specialty board eligibility requirements.
     Teammates should assist colleagues in need and equitably reintegrate them upon
     return.

    VI.D.           Fatigue Mitigation

    VI.D.1.               Programs must:

    VI.D.1.a)                     educate all faculty members and residents to recognize the
                                  signs of fatigue and sleep deprivation; (Core)

    VI.D.1.b)                     educate all faculty members and residents in alertness
                                  management and fatigue mitigation processes; and, (Core)




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    VI.D.1.c)                     encourage residents to use fatigue mitigation processes to
                                  manage the potential negative effects of fatigue on patient
                                  care and learning. (Detail)

    Background and Intent: Providing medical care to patients is physically and mentally
    demanding. Night shifts, even for those who have had enough rest, cause fatigue.
    Experiencing fatigue in a supervised environment during training prepares residents for
    managing fatigue in practice. It is expected that programs adopt fatigue mitigation
    processes and ensure that there are no negative consequences and/or stigma for using
    fatigue mitigation strategies.

    This requirement emphasizes the importance of adequate rest before and after clinical
    responsibilities. Strategies that may be used include, but are not limited to, strategic
    napping; the judicious use of caffeine; availability of other caregivers; time management
    to maximize sleep off-duty; learning to recognize the signs of fatigue, and self-
    monitoring performance and/or asking others to monitor performance; remaining active
    to promote alertness; maintaining a healthy diet; using relaxation techniques to fall
    asleep; maintaining a consistent sleep routine; exercising regularly; increasing sleep
    time before and after call; and ensuring sufficient sleep recovery periods.

    VI.D.2.               Each program must ensure continuity of patient care, consistent
                          with the program’s policies and procedures referenced in VI.C.2–
                          VI.C.2.b), in the event that a resident may be unable to perform their
                          patient care responsibilities due to excessive fatigue. (Core)

    VI.D.3.               The program, in partnership with its Sponsoring Institution, must
                          ensure adequate sleep facilities and safe transportation options for
                          residents who may be too fatigued to safely return home. (Core)

    VI.E.          Clinical Responsibilities, Teamwork, and Transitions of Care

    VI.E.1.               Clinical Responsibilities

                          The clinical responsibilities for each resident must be based on PGY
                          level, patient safety, resident ability, severity and complexity of
                          patient illness/condition, and available support services. (Core)

                          [Optimal clinical workload may be further specified by each Review
                          Committee]

    Background and Intent: The changing clinical care environment of medicine has meant
    that work compression due to high complexity has increased stress on residents.
    Faculty members and program directors need to make sure residents function in an
    environment that has safe patient care and a sense of resident well-being. Some Review
    Committees have addressed this by setting limits on patient admissions, and it is an
    essential responsibility of the program director to monitor resident workload. Workload
    should be distributed among the resident team and interdisciplinary teams to minimize
    work compression.

    VI.E.2.               Teamwork




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                          Residents must care for patients in an environment that maximizes
                          communication. This must include the opportunity to work as a
                          member of effective interprofessional teams that are appropriate to
                          the delivery of care in the specialty and larger health system. (Core)

                          [The Review Committee may further specify]

    VI.E.3.               Transitions of Care

    VI.E.3.a)                     Programs must design clinical assignments to optimize
                                  transitions in patient care, including their safety, frequency,
                                  and structure. (Core)

    VI.E.3.b)                     Programs, in partnership with their Sponsoring Institutions,
                                  must ensure and monitor effective, structured hand-over
                                  processes to facilitate both continuity of care and patient
                                  safety. (Core)

    VI.E.3.c)                     Programs must ensure that residents are competent in
                                  communicating with team members in the hand-over process.
                                  (Outcome)



    VI.E.3.d)                     Programs and clinical sites must maintain and communicate
                                  schedules of attending physicians and residents currently
                                  responsible for care. (Core)

    VI.E.3.e)                     Each program must ensure continuity of patient care,
                                  consistent with the program’s policies and procedures
                                  referenced in VI.C.2-VI.C.2.b), in the event that a resident may
                                  be unable to perform their patient care responsibilities due to
                                  excessive fatigue or illness, or family emergency. (Core)

    VI.F.          Clinical Experience and Education

                   Programs, in partnership with their Sponsoring Institutions, must design
                   an effective program structure that is configured to provide residents with
                   educational and clinical experience opportunities, as well as reasonable
                   opportunities for rest and personal activities.

    Background and Intent: In the new requirements, the terms “clinical experience and
    education,” “clinical and educational work,” and “clinical and educational work hours”
    replace the terms “duty hours,” “duty periods,” and “duty.” These changes have been
    made in response to concerns that the previous use of the term “duty” in reference to
    number of hours worked may have led some to conclude that residents’ duty to “clock
    out” on time superseded their duty to their patients.

    VI.F.1.               Maximum Hours of Clinical and Educational Work per Week

                          Clinical and educational work hours must be limited to no more than
                          80 hours per week, averaged over a four-week period, inclusive of all



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                          in-house clinical and educational activities, clinical work done from
                          home, and all moonlighting. (Core)

    Background and Intent: Programs and residents have a shared responsibility to ensure
    that the 80-hour maximum weekly limit is not exceeded. While the requirement has been
    written with the intent of allowing residents to remain beyond their scheduled work
    periods to care for a patient or participate in an educational activity, these additional
    hours must be accounted for in the allocated 80 hours when averaged over four weeks.

    Scheduling
    While the ACGME acknowledges that, on rare occasions, a resident may work in excess
    of 80 hours in a given week, all programs and residents utilizing this flexibility will be
    required to adhere to the 80-hour maximum weekly limit when averaged over a four-
    week period. Programs that regularly schedule residents to work 80 hours per week and
    still permit residents to remain beyond their scheduled work period are likely to exceed
    the 80-hour maximum, which would not be in substantial compliance with the
    requirement. These programs should adjust schedules so that residents are scheduled
    to work fewer than 80 hours per week, which would allow residents to remain beyond
    their scheduled work period when needed without violating the 80-hour requirement.
    Programs may wish to consider using night float and/or making adjustments to the
    frequency of in-house call to ensure compliance with the 80-hour maximum weekly limit.

    Oversight
    With increased flexibility introduced into the Requirements, programs permitting this
    flexibility will need to account for the potential for residents to remain beyond their
    assigned work periods when developing schedules, to avoid exceeding the 80-hour
    maximum weekly limit, averaged over four weeks. The ACGME Review Committees will
    strictly monitor and enforce compliance with the 80-hour requirement. Where violations
    of the 80-hour requirement are identified, programs will be subject to citation and at risk
    for an adverse accreditation action.

    Work from Home
    While the requirement specifies that clinical work done from home must be counted
    toward the 80-hour maximum weekly limit, the expectation remains that scheduling be
    structured so that residents are able to complete most work on site during scheduled
    clinical work hours without requiring them to take work home. The new requirements
    acknowledge the changing landscape of medicine, including electronic health records,
    and the resulting increase in the amount of work residents choose to do from home. The
    requirement provides flexibility for residents to do this while ensuring that the time
    spent by residents completing clinical work from home is accomplished within the 80-
    hour weekly maximum. Types of work from home that must be counted include using an
    electronic health record and taking calls from home. Reading done in preparation for the
    following day’s cases, studying, and research done from home do not count toward the
    80 hours. Resident decisions to leave the hospital before their clinical work has been
    completed and to finish that work later from home should be made in consultation with
    the resident’s supervisor. In such circumstances, residents should be mindful of their
    professional responsibility to complete work in a timely manner and to maintain patient
    confidentiality.

    During the public comment period many individuals raised questions and concerns
    related to this change. Some questioned whether minute by minute tracking would be



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    required; in other words, if a resident spends three minutes on a phone call and then a
    few hours later spends two minutes on another call, will the resident need to report that
    time. Others raised concerns related to the ability of programs and institutions to verify
    the accuracy of the information reported by residents. The new requirements are not an
    attempt to micromanage this process. Residents are to track the time they spend on
    clinical work from home and to report that time to the program. Decisions regarding
    whether to report infrequent phone calls of very short duration will be left to the
    individual resident. Programs will need to factor in time residents are spending on
    clinical work at home when schedules are developed to ensure that residents are not
    working in excess of 80 hours per week, averaged over four weeks. There is no
    requirement that programs assume responsibility for documenting this time. Rather, the
    program’s responsibility is ensuring that residents report their time from home and that
    schedules are structured to ensure that residents are not working in excess of 80 hours
    per week, averaged over four weeks.

    PGY-1 and PGY-2 Residents
    PGY-1 and PGY-2 residents may not have the experience to make decisions about when
    it is appropriate to utilize flexibility or may feel pressured to use it when unnecessary.
    Programs are responsible for ensuring that residents are provided with manageable
    workloads that can be accomplished during scheduled work hours. This includes
    ensuring that a resident’s assigned direct patient load is manageable, that residents
    have appropriate support from their clinical teams, and that residents are not
    overburdened with clerical work and/or other non-physician duties.

    VI.F.2.               Mandatory Time Free of Clinical Work and Education

    VI.F.2.a)                     The program must design an effective program structure that
                                  is configured to provide residents with educational
                                  opportunities, as well as reasonable opportunities for rest
                                  and personal well-being. (Core)

    VI.F.2.b)                     Residents should have eight hours off between scheduled
                                  clinical work and education periods. (Detail)

    VI.F.2.b).(1)                        There may be circumstances when residents choose
                                         to stay to care for their patients or return to the
                                         hospital with fewer than eight hours free of clinical
                                         experience and education. This must occur within the
                                         context of the 80-hour and the one-day-off-in-seven
                                         requirements. (Detail)

    Background and Intent: While it is expected that resident schedules will be structured to
    ensure that residents are provided with a minimum of eight hours off between
    scheduled work periods, it is recognized that residents may choose to remain beyond
    their scheduled time, or return to the clinical site during this time-off period, to care for
    a patient. The requirement preserves the flexibility for residents to make those choices.
    It is also noted that the 80-hour weekly limit (averaged over four weeks) is a deterrent
    for scheduling fewer than eight hours off between clinical and education work periods,
    as it would be difficult for a program to design a schedule that provides fewer than eight
    hours off without violating the 80-hour rule.




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    VI.F.2.c)                     Residents must have at least 14 hours free of clinical work
                                  and education after 24 hours of in-house call. (Core)

    Background and Intent: Residents have a responsibility to return to work rested, and
    thus are expected to use this time away from work to get adequate rest. In support of
    this goal, residents are encouraged to prioritize sleep over other discretionary activities.

    VI.F.2.d)                     Residents must be scheduled for a minimum of one day in
                                  seven free of clinical work and required education (when
                                  averaged over four weeks). At-home call cannot be assigned
                                  on these free days. (Core)

    Background and Intent: The requirement provides flexibility for programs to distribute
    days off in a manner that meets program and resident needs. It is strongly
    recommended that residents’ preference regarding how their days off are distributed be
    considered as schedules are developed. It is desirable that days off be distributed
    throughout the month, but some residents may prefer to group their days off to have a
    “golden weekend,” meaning a consecutive Saturday and Sunday free from work. The
    requirement for one free day in seven should not be interpreted as precluding a golden
    weekend. Where feasible, schedules may be designed to provide residents with a
    weekend, or two consecutive days, free of work. The applicable Review Committee will
    evaluate the number of consecutive days of work and determine whether they meet
    educational objectives. Programs are encouraged to distribute days off in a fashion that
    optimizes resident well-being, and educational and personal goals. It is noted that a day
    off is defined in the ACGME Glossary of Terms as “one (1) continuous 24-hour period
    free from all administrative, clinical, and educational activities.”

    VI.F.3.               Maximum Clinical Work and Education Period Length

    VI.F.3.a)                     Clinical and educational work periods for residents must not
                                  exceed 24 hours of continuous scheduled clinical
                                  assignments. (Core)

    Background and Intent: The Task Force examined the question of “consecutive time on
    task.” It examined the research supporting the current limit of 16 consecutive hours of
    time on task for PGY-1 residents; the range of often conflicting impacts of this
    requirement on patient safety, clinical care, and continuity of care by resident teams;
    and resident learning found in the literature. Finally, it heard a uniform request by the
    specialty societies, certifying boards, membership societies and organizations, and
    senior residents to repeal this requirement. It heard conflicting perspectives from
    resident unions, a medical student association, and a number of public advocacy
    groups, some arguing for continuation of the requirement, others arguing for extension
    of the requirement to all residents.

    Of greatest concern to the Task Force were the observations of disruption of team care
    and patient care continuity brought about with residents beyond the PGY-1 level
    adhering to differing requirements. The graduate medical education community
    uniformly requested that the Task Force remove this requirement. The most frequently-
    cited reason for this request was the complete disruption of the team, separating the




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    PGY-1 from supervisory faculty members and residents who were best able to judge the
    ability of the resident and customize the supervision of patient care for each PGY-1.
    Cited nearly as frequently was the separation of the PGY-1 from the team, delaying
    maturation of clinical skills, and threatening to create a “shift” mentality in disciplines
    where overnight availability to patients is essential in delivery of care.

    The Task Force examined the impact of the request to consider 16-consecutive-hour
    limits for all residents, and rejected the proposition. It found that model incompatible
    with the actual practice of medicine and surgery in many specialties, excessively
    limiting in configuration of clinical services in many disciplines, and potentially
    disruptive of the inculcation of responsibility and professional commitment to altruism
    and placing the needs of patients above those of the physician.

    After careful consideration of the information available, the testimony and position of all
    parties submitting information, and presentations to the Task Force, the Task Force
    removed the 16-hour-consecutive-time-on-task requirement for PGY-1 residents. It
    remains crucial that programs ensure that PGY-1 residents are supervised in
    compliance with the applicable Program Requirements, and that resident well-being is
    prioritized as described in Section VI.C. of these requirements.

    VI.F.3.a).(1)                        Up to four hours of additional time may be used for
                                         activities related to patient safety, such as providing
                                         effective transitions of care, and/or resident education.
                                         (Core)



    VI.F.3.a).(1).(a)                             Additional patient care responsibilities must not
                                                  be assigned to a resident during this time. (Core)

    Background and Intent: The additional time referenced in VI.F.3.a).(1) should not be
    used for the care of new patients. It is essential that the resident continue to function as
    a member of the team in an environment where other members of the team can assess
    resident fatigue, and that supervision for post-call residents is provided. This 24 hours
    and up to an additional four hours must occur within the context of 80-hour weekly limit,
    averaged over four weeks.

    VI.F.4.               Clinical and Educational Work Hour Exceptions

    VI.F.4.a)                     In rare circumstances, after handing off all other
                                  responsibilities, a resident, on their own initiative, may elect
                                  to remain or return to the clinical site in the following
                                  circumstances:

    VI.F.4.a).(1)                        to continue to provide care to a single severely ill or
                                         unstable patient; (Detail)

    VI.F.4.a).(2)                        humanistic attention to the needs of a patient or
                                         family; or, (Detail)

    VI.F.4.a).(3)                        to attend unique educational events. (Detail)




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    VI.F.4.b)                     These additional hours of care or education will be counted
                                  toward the 80-hour weekly limit. (Detail)

    Background and Intent: This requirement is intended to provide residents with some
    control over their schedules by providing the flexibility to voluntarily remain beyond the
    scheduled responsibilities under the circumstances described above. It is important to
    note that a resident may remain to attend a conference, or return for a conference later
    in the day, only if the decision is made voluntarily. Residents must not be required to
    stay. Programs allowing residents to remain or return beyond the scheduled work and
    clinical education period must ensure that the decision to remain is initiated by the
    resident and that residents are not coerced. This additional time must be counted
    toward the 80-hour maximum weekly limit.

    VI.F.4.c)                     A Review Committee may grant rotation-specific exceptions
                                  for up to 10 percent or a maximum of 88 clinical and
                                  educational work hours to individual programs based on a
                                  sound educational rationale.

    VI.F.4.c).(1)                        In preparing a request for an exception, the program
                                         director must follow the clinical and educational work
                                         hour exception policy from the ACGME Manual of
                                         Policies and Procedures. (Core)

    VI.F.4.c).(2)                        Prior to submitting the request to the Review
                                         Committee, the program director must obtain approval
                                         from the Sponsoring Institution’s GMEC and DIO. (Core)

    Background and Intent: The provision for exceptions for up to 88 hours per week has
    been modified to specify that exceptions may be granted for specific rotations if the
    program can justify the increase based on criteria specified by the Review Committee.
    As in the past, Review Committees may opt not to permit exceptions. The underlying
    philosophy for this requirement is that while it is expected that all residents should be
    able to train within an 80-hour work week, it is recognized that some programs may
    include rotations with alternate structures based on the nature of the specialty.
    DIO/GMEC approval is required before the request will be considered by the Review
    Committee.

    VI.F.5.               Moonlighting

    VI.F.5.a)                     Moonlighting must not interfere with the ability of the resident
                                  to achieve the goals and objectives of the educational
                                  program, and must not interfere with the resident’s fitness for
                                  work nor compromise patient safety. (Core)

    VI.F.5.b)                     Time spent by residents in internal and external moonlighting
                                  (as defined in the ACGME Glossary of Terms) must be
                                  counted toward the 80-hour maximum weekly limit. (Core)

    VI.F.5.c)                     PGY-1 residents are not permitted to moonlight. (Core)




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    Background and Intent: For additional clarification of the expectations related to
    moonlighting, please refer to the Common Program Requirement FAQs (available at
    http://www.acgme.org/What-We-Do/Accreditation/Common-Program-Requirements).

    VI.F.6.                In-House Night Float

                           Night float must occur within the context of the 80-hour and one-
                           day-off-in-seven requirements. (Core)

                           [The maximum number of consecutive weeks of night float, and
                           maximum number of months of night float per year may be further
                           specified by the Review Committee.]

    Background and Intent: The requirement for no more than six consecutive nights of
    night float was removed to provide programs with increased flexibility in scheduling.

    VI.F.7.                Maximum In-House On-Call Frequency

                           Residents must be scheduled for in-house call no more frequently
                           than every third night (when averaged over a four-week period). (Core)

    VI.F.8.                At-Home Call

    VI.F.8.a)                     Time spent on patient care activities by residents on at-home
                                  call must count toward the 80-hour maximum weekly limit.
                                  The frequency of at-home call is not subject to the every-
                                  third-night limitation, but must satisfy the requirement for one
                                  day in seven free of clinical work and education, when
                                  averaged over four weeks. (Core)

    VI.F.8.a).(1)                         At-home call must not be so frequent or taxing as to
                                          preclude rest or reasonable personal time for each
                                          resident. (Core)

    VI.F.8.b)                     Residents are permitted to return to the hospital while on at-
                                  home call to provide direct care for new or established
                                  patients. These hours of inpatient patient care must be
                                  included in the 80-hour maximum weekly limit. (Detail)

              [The Review Committee may further specify under any requirement in VI.F.-
              VI.F.8.b)]

    Background and Intent: This requirement has been modified to specify that clinical work
    done from home when a resident is taking at-home call must count toward the 80-hour
    maximum weekly limit. This change acknowledges the often significant amount of time
    residents devote to clinical activities when taking at-home call, and ensures that taking
    at-home call does not result in residents routinely working more than 80 hours per
    week. At-home call activities that must be counted include responding to phone calls
    and other forms of communication, as well as documentation, such as entering notes in




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    an electronic health record. Activities such as reading about the next day’s case,
    studying, or research activities do not count toward the 80-hour weekly limit.

    In their evaluation of residency/fellowship programs, Review Committees will look at the
    overall impact of at-home call on resident/fellow rest and personal time.

                                                  ***
    *Core Requirements: Statements that define structure, resource, or process elements
    essential to every graduate medical educational program.
    †
     Detail Requirements: Statements that describe a specific structure, resource, or process, for
    achieving compliance with a Core Requirement. Programs and sponsoring institutions in
    substantial compliance with the Outcome Requirements may utilize alternative or innovative
    approaches to meet Core Requirements.
    ‡
     Outcome Requirements: Statements that specify expected measurable or observable
    attributes (knowledge, abilities, skills, or attitudes) of residents or fellows at key stages of their
    graduate medical education.

    Osteopathic Recognition
    For programs with or applying for Osteopathic Recognition, the Osteopathic Recognition
    Requirements also apply (www.acgme.org/OsteopathicRecognition).




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